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                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

ROBERT L. WIGGINS, JR., et al.,                )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             ) Case No. 2:12-cv-02705-SGC
                                               )
FRANK ELLIS, IV, et al.,                       )
                                               )
       Defendants.                             )

                     MEMORANDUM OPINION AND ORDER1

       “For want of a nail the shoe was lost.” Thus begins the proverb describing a

cascading series of increasingly catastrophic events—ultimately leading to the loss

of a kingdom—precipitated by a seemingly insignificant failure of a horseshoe

nail. If some misguided soul were inspired to distill the story of this confounding

lawsuit to a proverb, it would begin: “For want of a valid condominium declaration

. . . .” While the defective condominium declaration in this case has not yet led to

the loss of a kingdom, it has spawned numerous lawsuits in both state and federal

courts in Alabama spanning more than a decade. This memorandum opinion does

not bring this matter to its merciful end, but it does cull the herd of claims and

counterclaims to the core of the dispute: the consequences flowing from want of a

valid condominium declaration.

1
 The parties have unanimously consented to magistrate judge jurisdiction pursuant to 28 U.S.C.
§ 636(c). (Doc. 193).
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I.     JURISDICTION

       The original complaint filed in this district more than eight years ago—

asserting only claims arising under state law—did not specify the basis for federal

jurisdiction; nor did it include any jurisdictional allegations. (Doc. 1). Subsequent

iterations of the complaint were likewise silent as to federal subject matter

jurisdiction. (Docs. 22, 94). 2 Because every version the complaint named as a

defendant Federal Deposit Insurance Corporation (“FDIC”), the lack of

jurisdictional allegations was proper under the Financial Institutions Reform,

Recovery, and Enforcement Act (“FIRREA”), 12 U.S.C. § 1819.

       Under FIRREA, civil suits in which FDIC is a party “in any capacity” are

deemed to arise under the laws of the United States. § 1819(b)(2)(A). This

provision overrides the general “well-pleaded complaint rule,” which requires the

basis for federal-question jurisdiction to appear on the face of the complaint. See

Lindley v. Fed. Deposit Ins. Corp., 733 F.3d 1043, 1050-51 (11th Cir. 2013). The

Eleventh Circuit has noted § 1819 “evince[s] a clear congressional intent to

provide a federal forum when the FDIC is made a party.” Castleberry v. Goldome

Credit Corp., 408 F.3d 773, 788 (11th Cir. 2005); see Fed. Deposit Ins. Corp. v. N.

Savannah Props., LLC, 686 F.3d 1254, 1258 (11th Cir. 2012) (“Federal-question


2
 While Defendants’ operative counterclaim complaint purports to allege the citizenship of the
parties, it does not allege the citizenship of either party-limited liability company’s respective
members. (Doc. 112 at 3-4).
                                                2
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jurisdiction generally exists whenever the FDIC is a party to litigation.”). Indeed,

where FDIC is a party, the party challenging federal jurisdiction has the burden of

overcoming the presumption of its existence. See Lindley, 733 F.3d at 1050-51;

Bishop v. Darby Bank & Trust Co., No. 10-0295, 2011 WL 4499575 *1 (S.D. Ga.

Sept. 27, 2011).3        The court has previously noted the existence of federal

jurisdiction.     (Doc. 16 at 16, adopted in relevant part by Docs. 20, 21)

(acknowledging Plaintiffs could have brought this claim in state court, but FDIC

would likely have removed it under 12 U.S.C. § 1819); (Doc. 156 at 15 adopted by

Docs. 178, 179) (recognizing 12 U.S.C. § 1821(d)(6) provides federal jurisdiction

for administratively exhausted claims against FDIC).4

       By virtue of the court’s memorandum opinion granting summary judgment

as to the claims against it, FDIC is no longer a party to this lawsuit. (Doc. 308).


3
  FDIC did attack subject matter jurisdiction at the motion to dismiss stage. (Docs. 5, 28, 100).
However, FDIC’s challenges were premised on 12 U.S.C. § 1821, based on: (1) Plaintiffs’
failure to include their claims in an administrative proof of claim they submitted; and (2) the
unavailability of declaratory relief.
4
  FIRREA does provide a narrow exception to the creation of federal jurisdiction by virtue of
FDIC’s involvement where: (1) the FDIC is acting “as receiver of a State insured depository
institution by the exclusive appointment by State authorities, [and] is a party other than a
plaintiff”; (2) the action “involves only the preclosing rights against the State insured depository
institution, or obligations owing to, depositors, creditors, or stockholders by the State insured
depository institution”; and (3) only the interpretation of state law is necessary to resolve the
claims. 12 U.S.C. § 1819(b)(2)(D)(i-iii). All three conditions are required to preclude federal
question jurisdiction. See, e.g., Castleberry, 408 F.3d at 785. Even if the court were required to
consider this exception sua sponte, it would not apply because—as discussed at length below—
this matter challenges more than “only the preclosing rights against the State insured depository
institution, or obligations owing to, depositors, creditors, or stockholders by the State insured
depository institution.”
                                                 3
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However, the Eleventh Circuit has held a district court retains original jurisdiction

over pendent claims under state law against non-FDIC parties, even after FDIC is

dismissed. See, e.g., Lindley, 733 F.3d at 1058. (reversing trial court’s dismissal

of state law claims against non-FDIC defendants under 28 U.S.C. § 1367(c)(3)).

Accordingly, the court has subject matter jurisdiction over the remaining claims in

this lawsuit.

II.    RELEVANT FACTUAL BACKGROUND5

       This action arises from a long series of loans related to real estate

transactions between the parties. Plaintiffs, Robert L. Wiggins, Jr. (“Wiggins”),

and Wolf Pup, LLC (“Wolf Pup”), (collectively, “Plaintiffs”), financed the

purchase and construction of Wolf Bay Landing, a real estate development in

Baldwin County, Alabama, through a loan (the “Loan”) with Superior Bank

(“Superior”) in 2005.           In 2007, Plaintiffs sold the property (the “2007

Transaction”) to Defendant Character Counts, LLC (“CCLLC”), a single asset

entity owned by Defendant Frank P. Ellis, IV (“Ellis”), and Joseph Scott Raley

(“Raley”). CCLLC purchased the property by assuming Plaintiffs’ Loan with

Superior.


5
   To be sure, the 655 pages of briefing concerning Plaintiffs’ and Defendants’ motions for
summary judgment—not including their motions to strike—present myriad facts not reflected in
the instant opinion. (Docs. 239, 241, 248, 253, 256-57, 276-79, 282-83, 292-94, 298-99). In the
interest of judicial economy, the court has omitted recitation of facts that are unnecessary and/or
irrelevant to resolution of the pending motions. In addition to the extensive paper record, the
court heard lengthy oral arguments on November 17, 2020.
                                                4
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       In 2010, Superior sold the Loan to Ellis, who financed the purchase with a

personal loan from Superior. In connection with selling the original Loan to Ellis,

Superior paid down the outstanding balance on the Loan by seizing money from

accounts funded by Plaintiffs during the 2007 Transaction. 6                  In 2014, Ellis

foreclosed on the original Loan and sold the property to Trinity Retreat, LLC

(“Trinity Retreat”), a single asset entity owned by Ellis’s wife, Mihyon Ellis. Ellis

subsequently became a member of Trinity Retreat, which still owns Wolf Bay

Landing. Having provided this overview, the following pages discuss the facts of

this case in more detail.

       A.     2005: Superior’s Loan to Wolf Pup and the Guaranties

       Wiggins is a member of one of the entity-members of Wolf Pup; Raley is

also a member. (E.g. Doc. 257 at 12; Doc. 255-1 at 18). Wolf Pup built and

owned Wolf Bay Landing, a 62-unit real estate development, which was financed

through Superior. (Doc. 257 at 1). The Loan with Superior involved several

transactions in September and December 2005, and Wolf Pup’s entire indebtedness

to Superior was approximately $17.5 million. (Id. at 1-2).

       The Loan was secured by a mortgage on the Property and also by continuing

guaranties (the “Guaranties”) from Wiggins and others associated with Wolf Bay


6
  Superior Bank later failed, and FDIC was named as its receiver. After Superior failed, Cadence
Bank (“Cadence”) acquired Ellis’s personal loan from Superior, and Cadence eventually reached
a settlement agreement with Ellis regarding payment of his personal loan.
                                               5
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Landing. (Doc. 244-2; see, e.g., Doc. 257 at 2). 7 Under the Guaranties, Wiggins

and the other guarantors “jointly and severally unconditionally guarantee and

promise to pay the Bank” the indebtedness under the Loan. (Doc. 244-2 at 14).

The Guaranties further provide in part:

      [T]his Guaranty may not be revoked or terminated, other than with the
      prior written consent of the Bank, except upon strict compliance with
      the conditions and requirements heretofore set forth in this Section
      (2), and this Guaranty will not be revoked or terminated by any action,
      event or circumstance, including payment in full of all of the
      indebtedness. . . .
      The obligations of the Guarantors hereunder are joint and several, and
      independent of the obligations of Borrowers, and a separate action or
      actions may be brought and prosecuted against any one or more of the
      Guarantors whether action is brought against Borrowers or any other
      Guarantor . . . .
      It is the intent hereof that this obligation of Guarantors shall be and
      remain unaffected, (a) by the existence or non-existence, validity or
      invalidity, of any pledge, assignment or conveyance given as security;
      or (b) by any understanding or agreement that any other person, firm
      or corporation was or is to execute this or any other guaranty, . . . or
      any other document or instrument or was or is to provide collateral for
      any indebtedness . . . .
             ....
      No right or power of Bank hereunder shall be deemed to have been
      waived by any act or conduct or failure or delay to act on the part of
      the Bank . . . . Bank may without notice assign this Guaranty in
      whole or in part and each reference herein to Bank shall be deemed to
      include its successors and assigns.
(Doc. 244-2 at 14-16).


7
 The other guarantors were Third-Party Defendant Linda Peacock, as well as Kelly Schuck and
Raley. (Doc. 244-2 at 4, 8, 12).
                                            6
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          B.      2007: CCLC Purchased Wolf Bay Landing

          Construction of Wolf Bay Landing was completed in late 2006 or early

2007, and Wolf Pup had secured a number of pre-construction sales contracts for

condominium units. (Doc. 239 at 5; Doc. 241 at 5). Meanwhile, the Gulf Coast

condo market deteriorated in 2007, and the buyers refused to close on their sales

contracts. (Doc. 250-2 at 8-9; Doc. 255-2 at 8-9; see, e.g., Doc. 239 at 6).8 Wolf

Pup initiated litigation (the “Bowles Litigation”) 9 in February 2007 in Baldwin

Count Circuit Court, seeking the buyers’ specific performance of the sales

contracts. (See Doc. 239 at 6).

          On April 17, 2007, Wolf Pup recorded a Declaration of Condominium (the

“Condo Declaration”), purporting to establish Wolf Bay Landing as a

condominium under Alabama law. (Doc. 244-10). Peacock drafted and filed the

Condo Declaration. (Id. at 2). By the summer of 2007, facing past-due notices

from Superior regarding interest payments under the Loan, Wolf Pup was looking

to sell Wolf Bay Landing. (See Doc. 239 at 8).10




8
  Ellis testified adverse conditions in the condo market did not recover until sometime after 2010.
(See Doc. 255-1 at 87).
9
     The Bowles Litigation is discussed in more detail, infra.
10
   On July 27, 2007, Plaintiffs entered a tolling agreement with Peacock, Schuck, and several
entities, tolling the statute of limitations for claims between the parties in state court, including
claims relating to the Condo Declaration. (Doc. 158 at 24, n.21).
                                                   7
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       In late July or early August 2007, Wolf Pup began communicating with Ellis

regarding the possibility of purchasing Wolf Bay Landing. (Doc. 239 at 9). 11 Ellis

was under the impression the Condo Declaration was valid under Alabama law and

testified he did not know the “full nature” of the Bowles Litigation. (Id. at 10).

Ellis did not investigate the Bowles litigation and never performed due diligence on

Wolf Bay Landing; he testified he had no reason to look behind the curtain because

he trusted the people with whom he was dealing. (See Doc. 276 at 5). Ellis also

testified he never inquired about the status of the Condo Declaration and that no

one with Wolf Pup ever told him it was valid under Alabama law. (Doc. 255-1 at

18-19; see Doc. 276 at 6).12 Ellis further testified he had no direct contact with

Wiggins in 2007. (Doc. 257 at 3). However, Ellis assumed he was negotiating

with Wiggins because many of the documents they exchanged bore Wiggins’s

signature. (Id.).

       During their negotiations, the parties at one time contemplated Ellis’s

outright purchase of Wolf Bay Landing. (See Doc. 277 at 15-16). In preparation

11
    Ellis has been in the real estate business since 1975. (Doc. 255-1 at 5-6). After starting in
residential sales, Ellis eventually became a developer and entrepreneur who has turned around
several “hopeless situations,” including troubled condominium developments (Id.). Ellis owns
multiple businesses in at least five states, as well as four condominium developments other than
Wolf Bay Landing; three of these other condominium developments are located in Alabama, and
one is in Maryland. (Doc. 257 at 16-17). Ellis hired attorneys to prepare condominium
declarations for his other developments. (Id.).
12
  As discussed in greater detail infra, Ellis interpreted the words “condominium” and “unit”
appearing in different documents and contracts as representing the validity of the Condo
Declaration. (Doc. 276 at 6).
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for that plan, the parties drafted and circulated a Real Estate Purchase Agreement

in August 2007. (Doc. 259-1 SEALED).13 Indeed, both Wolf Pup and Ellis signed

the Real Estate Purchase Agreement on August 9, 2007. (Id. at 7 SEALED).

However, the legal effect of the Real Estate Purchase Agreement is unclear. (See

Doc. 276 at 29). In any event, rather than pursue Ellis’s outright purchase, the

parties opted for CCLLC—formed by Raley and Ellis on October 5, 2007—to

assume the Loan under the Loan Assumption and Modification Agreement (the

“Modification Agreement”) (see Doc. 276 at 3-4; Doc. 257 at 4-5); during the

same time period, the interested parties executed a number of other agreements.

These agreements, all of which effectuated the 2007 Transaction, are described in

more detail below. (See Doc. 257 at 3; see also Doc. 276 at 3-4; Doc. 255-1 at 22).

              1.     Modification Agreement

       Under the Modification Agreement—dated as effective on October 5,

2007 14—Wolf Pup conveyed Wolf Bay Landing to CCLLC; CCLLC assumed


13
   The Real Estate Purchase Agreement specifically cites the Bowles litigation in two places,
listing the case number and name. (Doc. 259-1 at 4, 7 SEALED). The second reference to
Bowles appears immediately above the signature blocks Ellis and Wolf Pup signed. (Id. at 7
SEALED). Although Peacock had already drafted and filed the Condo Declaration at the time
the parties were negotiating the Real Estate Purchase Agreement, it describes Wolf Bay Landing
on a metes and bounds basis and did not refer to it as a condominium. (Id. at 14 SEALED).
14
  On October 20, 2007 Ellis signed: (1) the Modification Agreement in his capacity as CCLLC’s
manager; and (2) the consent and joinder to the Modification Agreement in his personal capacity
as a guarantor. (Doc. 246-1 at 14, 19). Superior Bank executed the Modification Agreement on
November 27, 2007. (Id. at 12). Wiggins signed the Modification Agreement on behalf of Wolf
Pup on October 5, 2007, the same day he signed his individual consent and joinder as a
guarantor. (Id. at 13, 18). The remaining guarantors signed their consent and joinder forms on
                                              9
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Wolf Pup’s obligations to Superior under the $17.5 million Loan. (See Doc. 276 at

3). However, Wolf Pup remained liable under the Loan:

       It is the intent of this instrument, and [Wolf Pup], [Superior,] and
       CCLLC agree, that [Wolf Pup] shall remain liable under the Note and
       the other Loan Documents, and upon the occurrence of an Event of
       Default by CCLLC under the Note or the other Loan Documents, and
       in addition to [Superior]’s right to enforce the Loan Documents and
       pursue its remedies against CCLLC, [Superior] may enforce the terms
       of the Note against and collect the indebtedness evidenced by the
       Note from [Wolf Pup], all to the same extent as if this instrument had
       never been executed.
(Doc. 246-1 at 5). The Modification Agreement required Ellis to execute an

unlimited continuing guaranty to secure the loan and specified the Guaranties

executed by Wiggins and the other guarantors “shall continue in full force and

effect and shall continue to secure the Loan . . . .” (Id. at 10).

       The Modification Agreement also required Wolf Pup to establish an account

with Superior with a minimum balance of $560,000, from which Superior could

withdraw monthly interest payments on the Loan (the “Interest Reserve Account”).

(Doc. 246-1 at 7). When Superior withdrew interest payments from the Interest

Reserve Account, CCLLC was required to restore the minimum balance. (Id.).

Accordingly, Defendants were responsible for assuming the interest payments to



October 16 and 17, 2007. (Id. at 15-17). It is undisputed that, as of November 27, 2007, CCLLC
owned Wolf Bay Landing. (Doc. 276 at 8-9). Plaintiffs contend CCLLC owned Wolf Bay
Landing as of October 26, 2007, when the Assumption Warranty Deed was filed. (E.g. Doc. 257
at 5). Defendants disagree, arguing the 2007 Transaction was not complete until Superior signed
on November 27, 2007. (E.g. Doc. 276 at 9).
                                              10
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Superior under the Loan. (See Doc. 257 at 6). The Interest Reserve Account also

secured the Loan. (Doc. 246-1 at 7). 15

       Similarly, the Modification Agreement provided Superior would continue to

hold a $1.5 million certificate of deposit funded by Wiggins to secure the Loan (the

“Wiggins C.D.”). (Doc. 246-1 at 7). The Modification Agreement provided

Superior could apply the Wiggins C.D. to the Loan in the event of a default that

Plaintiffs did not cure within thirty (30) days of notice.             (Id.).   The instant

memorandum opinion refers to the Interest Reserve Account and the Wiggins C.D.

together as the “Pledged Collateral.”

              2.     Side Agreements

       As previously mentioned, the parties signed other agreements in conjunction

with the 2007 Transaction. The relevant agreements are discussed in turn.

                     a.     Repayment Agreement

       On October 5, 2007, Wolf Pup, Ellis, and CCLLC executed a document

entitled   “Agreement”      (the    “Repayment      Agreement”).         (Doc.    246-5).16

15
   It is not clear how much of the $560,000 minimum balance Wolf Pup deposited into the
Interest Reserve Account. Tim Hamner, a banker with Cadence who later handled the account,
testified the account never held the minimum balance. (Doc. 250-11 at 42; see Doc. 246-13;
Doc. 243-29 at 117-62). Hamner further testified the initial deposit into the account in
September 2007 was $269,875; by November 2007 the account held $461,620.95. (Doc. 250-11
at 42; Doc. 246-13). However, a November 21, 2008 Fourth Amendment to Loan Documents
signed by Ellis, Superior, and CCLLC, reflects the establishment of the $560,000 Interest
Reserve Account. (Doc. 255-35 at 3). In any event, it appears the sale of Unit A301 to Ellis
provided at least some of the initial proceeds Wolf Pup deposited into the Interest Reserve
Account. (Doc. 243-5 at 148; 243-8 at 106, 133-34; see Doc. 246-13; see generally Doc. 239 at
18-19; Doc. 241 at 9).
                                             11
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Defendants—collectively defined in the contract as the “Borrower”—executed the

Repayment Agreement in favor of Wolf Pup and its members with regard to the

Pledged Collateral and liability under the Loan.                  (Id.).   As relevant here,

Defendants promised to: (1) repay Wolf Pup and its members any portion of their

Pledged Collateral, plus interest, in the event Superior seized it; and (2) refrain

from selling Wolf Bay Landing in its entirety without paying off the Loan and

returning any seized Pledged Collateral with interest. (Id.). Specifically, the

Repayment Agreement provides:

       2.    Interest Reserve. Borrower agrees to immediately repay to
       Wolf Pup any portion of the $560,000.00 interest reserve posted by
       Wolf Pup to Superior Bank to secure the Indebtedness (defined in the
       Superior Bank Loan Assumption and Modification Agreement
       executed by Borrower), together with interest thereon at the default
       rate defined in the Superior Bank documents, to the extent same is
       seized or drawn upon by Superior Bank or otherwise applied to such
       Indebtedness.

       3.     $1,500,000.00 Pledged Collateral. Borrower agrees to
       immediately repay to Wiggins any portion of the $1,500,000.00
       collateral and interest accrued thereon posted by Wiggins to Superior
       Bank to secure the Indebtedness, together with interest thereon at the
       default rate defined in the Superior Bank documents, to the extent
       same is seized or drawn upon by Superior Bank or otherwise applied
       to such Indebtedness.

               ....

16
   While the parties did not date their signatures, the line immediately above the signature block
states it was “executed as of the day and year first above written.” (Doc. 246-5 at 3). That date
is October 5, 2007. (Id. at 2). Accordingly, Defendants’ contention that no evidence supports
that the Repayment Agreement was signed on October 5, 2007, is devoid of colorable merit and
does not create a factual dispute. (See Doc. 276 at 20).
                                               12
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         6.    Sale of Project or Units

         a.     Borrower agrees that the Wolf Bay Landing Condominium
         project contemporaneously herewith deeded to Borrower by Wolf Pup
         shall not be sold in its entirety absent payment in full of the existing
         Superior Bank indebtedness by Borrower and return in full of the
         interest reserve and pledged collateral, and any accrued interest
         thereon.

(Doc. 246-5 at 2).17

                            b.      Pledge Agreement

         Also on October 5, 2007, Ellis, Raley, and Wolf Pup executed the

Membership Interest Pledge Agreement (the “Pledge Agreement”). (Doc. 246-

2). 18    Under the Pledge Agreement, Ellis and Raley pledged their 100%

membership interest in CCLLC to Wolf Pup as security for their obligations under

the Loan Documents. (Id. at 2). The Pledge Agreement also reserved certain

specified remedies for Wolf Pup in the event of a default and provided for

attorney’s fees. (Id. at 3-5). Finally, paragraph 12 of the Pledge Agreement

provided:

         All indebtedness to Superior Bank shall be refinanced, or otherwise
         paid in full, on or before one (1) year from the date hereof, and the
         current guarantors thereof released, or the Borrowers shall be
         considered in default, and in default of the Loan Documents.


17
  Peacock and another guarantor also entered a November 13, 2007 agreement with Wiggins to
repay the Wiggins C.D. in the event Superior seized it. (See Doc. 239 at 18).
18
  The parties’ signatures are not dated. (Doc. 246-2 at 6). However, as with the Repayment
Agreement, the line preceding the signature blocks states the document was executed “as of the
date first written above:” October 5, 2007. (Id. at 2, 6).
                                             13
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(Doc. 246-2 at 6). Ellis testified that, at the time the parties executed the Pledge

Agreement, they all intended that Ellis would pay off or refinance the Loan within

one year, releasing the guarantors—including Wiggins. (See Doc. 255-1 at 24, 82).

                     c.     Other Relevant Agreements

       The parties also executed other documents in connection with the 2007

Transaction, including another document dated October 5, 2007, entitled

“Agreement” (the “Specific Performance Agreement”). 19                       The Specific

Performance Agreement, signed by Wolf Pup, CCLLC, and Ellis, concerned the

units which were the subject of the Bowles Litigation; among other terms, it

provided Wolf Pup the option to purchase certain units in the event it prevailed

against the buyers in that lawsuit. (Doc. 246-3).            Likewise, the title insurance

binder CCLLC procured referenced the Bowles Litigation, and Ellis was aware the

title insurer initially wanted to except coverage from issues arising from that

lawsuit. (See Doc. 257 at 13, 15).

       Also included among the agreements effectuating the 2007 Transaction was

a “Release Schedule,” dated October 5, 2007, and executed by Superior, CCLLC,20

and Wolf Pup. (Doc. 244-19 at 3-5). The Release Schedule provided pricing for

individual condominium units. Finally, Wiggins conveyed Unit A301 to Ellis via
19
  The signatures are undated, but the document states it was “entered into effective 10/5/07.”
(Doc. 246-3 ).
20
   Ellis signed the Release Schedule on behalf of CCLLC on October 20, 2007. (Doc. 244-19 at
5). Superior signed the document on October 27, 2007. (Id. at 3).
                                             14
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a November 13, 2007 Warranty Deed. (Doc. 246-11). Again, it appears Plaintiffs

used the proceeds from this sale to fund the Interest Reserve Account. (See, e.g.,

Doc. 241 at 9).

                     d.     Assumption Warranty Deed

       On October 26, 2007, Wolf Pup executed and filed in Baldwin County

Probate Court an Assumption Warranty Deed. (Doc. 246-6). The Assumption

Warranty Deed incorporated the Condo Declaration and provided Wolf Pup did

“grant, bargain, sell, and convey” to CCLLC “in fee simple,” sixty units at Wolf

Bay Landing, described by their unit numbers. (Id.).21 As to express covenants of

title, the Assumption Warranty Deed provides:

       AND GRANTOR [Wolf Pup] DOES FOR ITSELF, and for its
       successors and assigns covenant with the said grantee [CCLLC], and
       with grantee’s successors and assigns, that grantor is lawfully seized
       in fee simple of the said premises; that they are free from all
       encumbrances, except as otherwise noted above; that it has a good
       right to sell and convey the same as aforesaid; and that it will and its
       successors and assigns shall warrant and defend the same unto the
       said grantee, and unto grantee’s successors and assigns, forever,
       against the lawful claims of all persons.

(Id. at 4).




21
  The parties uniformly refer to the Assumption Warranty Deed as conveying sixty units to
CCLLC. It is worth noting the document actually lists sixty-one units. (Doc. 246-6 at 2). This
appears to be a typo in the Assumption Warranty Deed, particularly because Units A301 and
A110 are not listed in the instrument.
                                             15
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              3.     The Bowles Litigation and Issues Surrounding Unit A301

       Meanwhile, Wolf Pup had previously initiated the Bowles Litigation in the

Circuit Court of Baldwin County in February 2007, seeking specific performance

of pre-construction sales contracts with buyers. (Doc. 244-5). On May 7, 2007,

the purchaser-defendants in the Bowles Litigation filed counterclaims against Wolf

Pup, asserting breach of contract, suppression, fraud, and deceit.                       The

counterclaims focused on Wolf Pup’s failure to properly construct and permit

deeded boat slips.       (Doc. 127-1).       The purchaser-defendants in the Bowles

Litigation also asserted affirmative defenses, including unclean hands due to

violations of numerous portions of the Alabama Condominium Act, including §

35-8A-205 (concerning declaration and recordation) and § 35-8A-209 (subsection

(g) concerns the certificate of substantial completion). Wolf Pup v. Bowles, No.

07-900084 (Baldwin Cty. Cir. Ct.), Doc. 111. 22 Wiggins entered a notice of

appearance in that case on June 4, 2007. (Doc. 244-8). Ellis testified he was

unaware of the nature of the Bowles Litigation or the purchaser-defendants’

counterclaims, which he never investigated. (See Doc. 276 at 19-20; Doc. 257 at

14).

       Prior to the conveyance of Unit A301 to Ellis via the Assumption Warranty

Deed, Wolf Pup had an August 31, 2007 contract to sell the unit to a different

22
   These are two of the many code sections cited by the Baldwin County Circuit Court more than
three years later, when it held the Condo Declaration was invalid. (Doc. 127-2).
                                             16
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purchaser. (See Doc. 239 at 11-12).23 This purchaser was not a party to the

Bowles Litigation; he was represented by Gregory Leatherbury, who averred the

purchaser was willing and able to close but had been unable to obtain title

insurance. (See id. at 12). Among the evidence of record is an affidavit from

Leatherbury describing an October 24, 2007 telephone conversation with Peacock.

(Doc. 244-23). Leatherbury avers he told Peacock the Condo Declaration was

defective and failed to create a valid condominium. (Id. at 4).24 Attached to the

affidavit is a November 2, 2007 letter Leatherbury sent Peacock. (Doc. 244-23 at

18-20).    The letter primarily addresses concerns with the deeded boat slips.

However, it also states, “[T]he condominium documents are not valid as filed” and

memorializes Leatherbury’s understanding that Peacock was taking “curative

efforts.” (Id. at 20). On November 9, 2007, Wolf Pup and the guarantors entered a

confidential settlement agreement and mutual release with the previous purchasers

of Unit A301. (Doc. 239 at 17). Defendants were never made aware of these

events. (Id.).




23
  Wolf Pup conveyed Unit A110 to Raley’s company via Warranty Deed on September 13,
2007. (Doc. 244-22).
24
    Thus, the conversation took place after many of the documents surrounding the 2007
Transaction had been executed. Additionally, the call occurred just two days before Wolf Pup
filed the Assumption Warranty Deed (Doc. 246-6), twenty days before Unit A301 was conveyed
to Ellis (Doc. 246-11), and thirty-four days before Superior signed off on the Loan Assumption
Agreement—which the other parties had already executed. (Doc. 246-1).
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      More than three years later, on December 9, 2010, the Baldwin County

Circuit Court granted the purchaser-defendants’ motion for summary judgment in

the Bowles Litigation. (Doc. 127-2). The court concluded the Condo Declaration

was invalid because it failed to create separable, transferrable condominium units.

(Id.). Thus, the court entered judgment in favor of the purchaser-defendants,

holding Wolf Pup was not entitled to specific performance of the sales contracts.

The parties dispute when Ellis became aware of the judgment in the Bowles

Litigation. (See Doc. 276 at 9, 16).

             4.    Other Litigation

      As briefly alluded to in the opening paragraph of this opinion, the invalid

Condo Declaration has spawned other litigation. Among these lawsuits is one filed

by Wolf Pup and other parties-plaintiff against Peacock and her law firm for legal

malpractice with regard to Peacock’s drafting and filing of the defective Condo

Declaration. Galapagos, LLC v. Peacock, No. CV-2009-1219 (Jefferson Cty. Cir.

Ct. filed April 16, 2009); (see Doc. 246-19). A search of Alabama’s online case

management system reflects this lawsuit (the “Malpractice Litigation”) remains

pending.

             5.    CCLLC Operated Wolf Bay Landing

      On November 20, 2007—a week before Superior executed the Loan

Modification Agreement but after all of the other parties had signed—Raley


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received a letter stating the construction at Wolf Bay Landing was substantially

complete. (Doc. 245-25 at 2; see Doc. 239 at 19). Accompanying the letter was a

partial set of drawings (the “As-Builts”) of Wolf Bay Landing. (Doc. 245-25 at 3-

8). One of Raley’s employees filed the As-Builts in Baldwin County Probate

Court on December 21, 2007, after the 2007 Transaction was complete. (Id. at 3;

see Doc. 239 at 19). The parties dispute whether Raley directed his employee to

file the As-Builts in his role as a member of CCLLC or as a member of Wolf Pup.

(Doc. 257 at 8; Doc. 276 at 13-14).

      Following the 2007 Transaction, CCLLC furnished twelve condo units and

placed them into service as rentals in 2007 in order to receive accelerated

depreciation under the Gulf Opportunity Zone Act of 2005. (Doc. 276 at 11-12).

These so-called “GO Zone” depreciation credits passed through CCLLC to Ellis’s

(80%) and Raley’s (20%) personal tax returns. (Id.). Ellis initially attempted to

use the GO Zone credits to attract buyers for the unfurnished units. (Id. at 12).

When no buyers appeared, Ellis placed the remaining units in service as rentals in

2008. (Id.). Over $6.75 million in GO Zone credits passed through CCLLC in

2007 and 2008. (Id.; Doc. 257 at 7). If a unit subsequently sold, CCLLC would

have had to return to the IRS the pro rata share of depreciation received. (Doc. 257

at 7; Doc. 276 at 12; see Doc. 297-19). Ultimately, CCLLC did not sell any units

while it owned Wolf Bay Landing. (Doc. 257 at 8; see Doc. 276 at 13).


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       C.     2010: Ellis Purchased Loan & Superior Seized Pledged Collateral

       After Superior and CCLLC repeatedly extended the Loan’s maturity date,

Superior declared the Loan in default and demanded payment from the obligors

and guarantors on May 19, 2010. (Doc. 239 at 22). On the same day, Superior

inquired whether any of the guarantors, including Ellis, were interested in

purchasing the Loan. (Id.). The only guarantor to express interest in purchasing

the Loan was Ellis. (Doc. 239 at 23).25

       On December 23, 2010, Ellis personally entered a Loan Sale Agreement

with Superior; under it, Ellis acquired the Loan and related documents, including

the Guaranties. (Doc. 246-22). Ellis financed his purchase of the Loan with

approximately $16 million in personal loans from Superior Bank. (Doc. 257 at 8).

Superior simultaneously seized the Pledged Collateral from its accounts and

applied it to the principal indebtedness under the Loan. (See Doc. 239 at 24; Doc.

257 at 9; see Doc. 276 at 15). Ellis and Superior completed this transaction

without Plaintiffs’ knowledge or consent. (Doc. 257 at 10; e.g. Doc. 266-8 at 3).

It is undisputed that Superior maintained exclusive control over the accounts

holding the Pledged Collateral from the consummation of the 2007 Transaction


25
   Plaintiffs contend Superior began conspiring with Defendants, timing its seizure of the
Pledged Collateral to ensure Plaintiffs would be unable to exercise their rights to declare a
default and remove Ellis as the manager of Wolf Bay Landing. (Doc. 282 at 48-53). There is
evidence to support this contention—at least with regard to Superior. (See Doc. 259 SEALED).
However, in light of the following discussion, it is not necessary to recite the facts—primarily
gleaned from emails amongst Superior personnel—in support of this theory.
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until Superior seized them on December 23, 2010. (See Doc. 255-1 at 28-29; see

also Doc. 250-12 at 29). Superior seized a total of $2,077,408.49, consisting of:

(1) $1,742,126.70 on the Wiggins C.D., including accrued interest; and (2) the

$335,281.79 balance in the Interest Reserve Account. (Doc. 259-2 at 3).

       While CCLLC did not sell any units while it owned Wolf Bay Landing, Ellis

and his wife did buy Unit A110 from individuals who had acquired it at a

foreclosure sale. (Doc. 276 at 23-34).26 The Ellises purchased the unit on March

31, 2011, months after the judgment in the Bowles Litigation, which concluded the

Condo Declaration was invalid. (Id.). 27 Unit A110 was conveyed via a deed

which identified it as a condominium and referred to the Condo Declaration. (Id.).

The Ellises received title insurance on Unit A110. (Id.).

       D.     2014: Wolf Bay Landing Sold to Trinity Retreat

       After the Loan Sale Agreement, Superior failed and was taken over by FDIC

as receiver. (See Doc. 257 at 11). FDIC subsequently assigned Superior’s rights in

Ellis’s personal loan to an entity that merged with Cadence Bank on November 11,

2011. Accordingly, Cadence became the holder of Ellis’s Loan. (See Doc. 138 at

11). Ellis and Cadence eventually reached a “Second Settlement Agreement”

26
   Raley owned Unit A110 at some point prior to foreclosure. (Doc. 244-22; see Doc. 244-23 at
4). Although the parties’ statements of fact refer to this unit as A101, the deposition testimony
confirms it was unit A110. (Doc. 255-1 at 63).
27
  Defendants assert there is no evidence Ellis knew about the judgment in the Bowles Litigation
as of March 31, 2011. (Doc. 276 at 24). Ellis testified he did not know when he learned the
Condo Declaration had been declared invalid. (See id.).
                                               21
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regarding Ellis’s personal loan. (Doc. 255-21). Under the terms of the Second

Settlement Agreement, Wolf Bay Landing was to be sold to a third-party by June

30, 2014, and Cadence was to receive a $5.75 million payment from the sale. (Id.

at 10). In turn, Cadence would release Ellis from his personal loan. (Id. at 12).

      On June 25, 2014, Defendants’ counsel in the instant case conducted a

foreclosure sale of Wolf Bay Landing on a metes and bounds basis. (Doc. 255 at

2-3). Mihyon Ellis’s limited liability company, Trinity Retreat, made the highest

bid: $5.75 million. (Id.). Trinity Retreat financed the purchase with a loan from

Bryant Bank. (See Doc. 138 at 12). Upon receipt of the foreclosure sale proceeds,

Cadence released Ellis from his personal loan on June 26, 2014. (Doc. 255-31; see

Doc. 255-21 at 12; Doc. 276 at 18; Doc. 277 at 12; Doc. 279 at 14).

      The day after the foreclosure sale, Ellis’s attorney filed a new declaration of

condominium. (See Doc. 255-1 at 45; Doc. 299 at 10). Ellis testified he could

have cured the defects in the Condo Declaration earlier but chose not to because he

was “flat broke” and having a valid declaration was not a priority in 2010 and

2011. (Doc. 255-1 at 45; see id. at 87). Defendants have not repaid Plaintiffs for

the Pledged Collateral Superior seized in 2010, nor have they released the

guarantors. (Doc. 257 at 12; see Doc. 276 at 19).




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III.   PROCEDURAL HISTORY AND POSTURE

       This case, filed in 2012, was already a year-and-a-half-old when it was

reassigned to this court’s docket; it greeted the undersigned on her first day on the

bench. (Doc. 14). At that time, the only parties were Plaintiffs and FDIC. Nearly

a year later, on the court’s order, Plaintiffs amended their complaint, adding Ellis

and CCLLC as defendants. (Doc. 22). Nearly another year later, on February 22,

2016, Plaintiffs filed the Second Amended Complaint—the operative complaint in

this matter. (Doc. 94).

       The Second Amended Complaint named seven defendants; in addition to

Ellis, CCLLC, and FDIC, it named Mihyon Ellis, Trinity Retreat, Bryant Bank,

and Cadence Bank. (Doc. 94). At the motion to dismiss stage, all claims against

Mihyon Ellis, Trinity Retreat, and Bryant Bank were dismissed; as to Cadence, the

claim for tortious interference survived.        (Doc. 155, adopting Report &

Recommendation (“R&R”) at Doc. 138). This remaining claim against Cadence

was dismissed on summary judgment. (Doc. 309). The only claim against FDIC

that survived its motion to dismiss alleged conspiracy. (Doc. 179, adopting R&R

at Doc. 156).    The conspiracy claim against FDIC did not survive summary

judgment. (Doc. 308).

       As to Ellis and CCLLC, the only remaining defendants, the Second

Amended Complaint asserts thirteen claims.           (Doc. 94).     In response to


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Defendants’ pending motions for summary judgment, Plaintiffs have conceded five

claims: (1) two counts for breach of the implied duty of good faith and fair dealing

(Counts IV and VI); (2) breach of fiduciary duty (Count VII); (3) tortious

interference (Count XI); and (4) declaratory judgment concerning the Pledged

Collateral (Doc. XII). (Doc. 282 at 58). Accordingly, there are eight claims

remaining against Defendants: (1) declaratory judgment under § 8-3-13 of the

Alabama Code (Count I); (2) declaratory judgment regarding exoneration (Count

II); (3) breach of contract (Count III); (4) money paid (Count V); (5) conversion

(Count VIII); (6) conspiracy (Count IX); (7) unjust enrichment (Count X); and (8)

promissory estoppel and fraud (Count XIII). Defendants seek defensive summary

judgment as to all of these claims. (Doc. 238). Plaintiffs seek offensive summary

judgment as to their Counts I, II, and III. (Docs. 247, 252). 28

       Defendants also asserted counterclaims against Plaintiffs. The operative

counterclaim complaint 29 asserted five claims: (1) fraudulent misrepresentation

(Count I); (2) breach of contract (Count II); (3) breach of guaranties (Count III);
28
    Plaintiffs have three pending motions for summary judgment. The first seeks offensive
summary judgment on Plaintiffs’ Count III. (Doc. 247). Also pending is Plaintiffs’ motion for
defensive summary judgment; the primary focus of this motion is Defendants’ fraud
counterclaim, but it touches on all pending counterclaims. (Doc. 249). Finally, Plaintiffs have
filed an offensive/defensive hybrid motion. (Doc. 252). Defensively, it focuses on the
counterclaim for breach of guaranty, but it also touches on the breach of contract counterclaim;
offensively, it seeks judgment in Wiggins’ favor on his Counts I and II—seeking declaratory
relief from liability on the Guaranties. (Id.).
29
  Defendants asserted fraudulent misrepresentation by way of a counterclaim-in-reply, after the
court dismissed their previous counterclaims for fraudulent suppression and misrepresentation.
(Doc. 187; see Docs. 158, 181).
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(4) unjust enrichment (Count IV); and (5) breach of warranty deed (Count V).

(Docs. 112; 187; see Doc. 214). Except for Count IV, these claims survived

motions to dismiss. (Doc. 181; see Doc. 158). Plaintiffs seek defensive summary

judgment as to all of the remaining counterclaims. (Docs. 249, 252). Defendants

seek offensive summary judgment as to their counterclaims for breach of contract

(Count II), breach of guaranties (Count III), and breach of warranty deed (Count

V); they do not seek offensive summary judgment as to the counterclaim for

fraudulent misrepresentation (Count I). (Doc. 240).

IV.   MOTIONS TO STRIKE

      Contemporaneously with the summary judgment briefing, Plaintiffs and

Defendants filed motions to strike. (Docs. 260, 274, 302, 303). The court termed

those motions, construing them as objections to admissibility under Rule 56(c)(2).

(Doc. 310).   However, the court has not yet addressed the substance of the

motions, which are fully briefed and ripe—or overripe—for review. (Docs. 261,

301, 305-07; see Doc. 318). Defendants filed three of the four motions to strike;

the first of these motions contends Plaintiffs’ summary judgment briefing exceeds

the applicable page limitations. (Doc. 260). Defendants’ remaining motions, as

well as Plaintiffs’ motion, present substantive challenges to the admissibility of

certain statements offered in their opponents’ respective declarations. (Docs. 274,

302-03). The motions are addressed in turn.


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      On the parties’ joint motion, the court set a 60-page limit for initial briefs.

(Doc. 223). Plaintiffs’ initial briefs in support of their three pending motions for

summary judgment are 28 pages (Doc. 248), 59 pages (Doc. 256), and 40 pages

(Doc. 253) respectively, inclusive of signature pages. Additionally, Plaintiffs took

the unusual—although not explicitly forbidden—step of filing a separate, stand-

alone, 20-page statement of facts applicable to all three of their principal briefs.

(Doc. 257). Accordingly, not one of Plaintiffs’ briefs, standing alone, exceeds the

court’s page limitations. Defendants acknowledge this technical compliance; their

motion is premised on Plaintiffs’ briefs’ incorporation of portions of their other

briefs. (Doc. 260 at 3-7).

      The briefing in this case is less than ideal; however, Defendants have had the

opportunity to respond to all of the arguments presented by Plaintiffs.         This

includes extensive paper briefing and oral argument. To the extent the court has

considered arguments Plaintiffs have incorporated by reference, it has also

considered the associated defenses asserted by Defendants. The circular nature of

the arguments is probably unavoidable to some extent, reflecting the confounding

and convoluted facts of this case. To the extent Defendants object to Plaintiffs’

incorporation of a stand-alone statement of facts, they likewise have not shown

prejudice. Indeed, Defendants responded with their own, stand-alone, 43-page




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response. (Doc. 276). Accordingly, the objections posed in Defendants’ first

motion to strike are OVERRULED. (Doc. 260).30

      The substantive objections appear in: (1) Plaintiffs’ motion (Doc. 274) to

strike portions of Ellis’s Declaration (Doc. 244-18); (2) Defendants’ motion (Doc.

303) to strike portions of Wiggins’s Second Supplemental Declaration (Doc. 281-

1); and (3) Defendants’ motion (Doc. 302) to strike portions of Wiggins’s Third

Supplemental Declaration (Doc. 297-1). Together, the parties’ objections concern

33 paragraphs of the respective declarations. Many of the objections relate to facts

that are unnecessary to the court’s adjudication of the pending motions for

summary judgment, infra. Regarding any relevant, challenged statements in the

declarations, the court’s foregoing statement of facts has omitted the parties’ legal

conclusions and, where necessary, deferred to specific testimony and documentary

evidence. Accordingly, the parties’ objections are OVERRULED as MOOT,

obviating the need for the court to address the arguments presented in the

combined 137 pages of briefing on the substantive motions to strike. (Docs. 274,

301-03, 305-07).




30
   To the extent Defendants’ objections are aimed at Peacock’s principal brief, it is
OVERRULED nunc pro tunc on the same basis. (Doc. 260 at 6-7). Furthermore, the separate
memorandum opinion addressing the motions pertaining to Peacock do not rely on arguments
presented by Plaintiffs.
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V.    MOTIONS FOR SUMMARY JUDGMENT

      Under Rule 56(c) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

The party asking for summary judgment always bears the initial responsibility of

informing the court of the basis for its motion and identifying those portions of the

pleadings or filings which it believes demonstrate the absence of a genuine issue of

material fact. Id. at 323. Once the moving party has met its burden, Rule 56(e)

requires the non-moving party to go beyond the pleadings and by his own

affidavits, or by the depositions, answers to interrogatories, and admissions on file,

designate specific facts showing there is a genuine issue for trial. See id. at 324.

      The substantive law identifies which facts are material and which are

irrelevant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). All

reasonable doubts about the facts and all justifiable inferences are resolved in favor

of the non-movant. See Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir.

1993). A dispute is genuine “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. If the




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evidence is merely colorable, or is not significantly probative, summary judgment

may be granted. See id. at 249.

       A.      Defendants’ Counterclaim Count I: Fraud

       Defendants’ amended counterclaim complaint against Plaintiffs included

fraud counterclaims based on both suppression and misrepresentation. (Doc. 112

at 91-0). The claim for fraudulent suppression was dismissed, and Defendants’

counterclaim for fraudulent misrepresentation is the subject of Plaintiffs’ defensive

motion for summary judgment. (Doc. 249; see Doc. 256).31 Defendants do not

seek offensive summary judgment on this counterclaim in their motion. (Doc. 240;

see Doc. 241).

       A party alleging misrepresentation must show: “(1) a false representation (2)

of a material existing fact (3) reasonably relied upon by the [party] (4) who

suffered damage as a proximate consequence of the misrepresentation.” Exxon

Mobil Corp. v. Ala. Dep’t of Cons. and Nat. Res., 986 So. 2d 1093, 1114 (Ala.

2007) (quotation and emphasis omitted). As explained below, Defendants cannot

show Plaintiffs made a misrepresentation. Additionally, even setting aside the

failure to show a misrepresentation, Defendants cannot show reasonable reliance.




31
   While the title page and introductory paragraph of the brief in support of this motion states it is
filed on behalf of Wolf Pup only (Doc. 256), the motion itself and the body of the brief make
clear it is filed on behalf of both plaintiffs. (Doc. 249; see also Doc. 292 at 1, n.1).
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Accordingly, Plaintiffs’ defensive motion for summary judgment is due to be

granted as to the counterclaim for fraudulent misrepresentation. (Doc. 249).

            1.     Defendants Cannot Show a Misrepresentation

      The counterclaim for fraud concerns Defendants’ allegations that Plaintiffs

falsely stated Wolf Bay Landing was a condominium development. (Doc. 278 at

7-10). Defendants’ briefing and oral argument clarify that the misrepresentations

on which this claim relies consist of various written representations in documents

surrounding and effectuating the 2007 Transaction—signed between October 5,

2007, and November 13, 2007. (Doc. 278 at 7-10). Specifically, Defendants rely

on the following writings containing the words “condominium” and/or “unit”: (1)

the November 13, 2007 Warranty Deed conveying Unit A301 from Wiggins to

Ellis (Doc. 246-11); (2) the October 26, 2007 Assumption Warranty Deed

conveying sixty units from Wolf Pup to CCLLC (Doc. 246-6); (3) the October 5,

2007 Specific Performance Agreement, referring to sale of “condominium units”

(Doc. 246-3); (4) the October 5, 2007 Repayment Agreement (Doc. 246-5); (5) the

October 5, 2007 Pledge Agreement (Doc. 246-2); and (6) the October 5, 2007

Release Schedule (Doc. 244-19). (Doc. 278 at 7-8).

      As Defendants would have it, each of these written references to

“condominiums” and/or “units” constitute Plaintiffs’ representations that Wolf Bay

Landing was a legally created condominium development, consisting of separable


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condominium units ready for individual sale. (Doc. 278 at 7-10). This contradicts

the ultimate finding in the Bowles Litigation, that the Condo Declaration filed in

Baldwin County Probate Court on April 17, 2007, failed to create a valid

condominium project. Defendants do not point to any explicit representation—

either written, verbal, or otherwise—by Plaintiffs that Wolf Bay Landing consisted

of legally created, ready-to-sell condominium units or that the Condo Declaration

was valid.

      “Misrepresentation may take many forms, a verbal misrepresentation being

just one form.” Utah Foam Prods., Inc. v. Polytec, Inc., 584 So. 2d 1345, 1351

(Ala. 1991). A fraudulent misrepresentation claim may be based on conduct or

misrepresentations contained within a written document. See id. (“The statements

and conduct of the parties must be viewed in their entirety to adequately resolve

the question of whether a misrepresentation has occurred.”). However, “an alleged

written misrepresentation in a contract, without more, cannot be actionable as fraud

in Alabama.” Pearson’s Pharmacy, Inc. v. Express Scripts, Inc., 505 F. Supp. 2d

1272, 1275 (M.D. Ala. 2007). Furthermore, “[u]nder Alabama law, the plaintiffs

must aver that there were either oral or written misrepresentations made before the

signing of the contract or during the performance of the contract.” Id. at 1276.

      For example, in Goggans v. Realty Sales & Mortg., 675 So. 2d 441, 443

(Ala. Civ. App. 1996), a case cited in Defendants’ opposition (Doc. 278 at 15-16),


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the court addressed a real estate contract for a home. Under the deal, the buyers

assumed the sellers’ mortgage. Documents exchanged during closing indicated the

note was a twenty-five-year mortgage. During closing, a buyer asked a seller and

the sellers’ agent if the mortgage matured in twenty-five years; both answered

affirmatively. In reality, the mortgage matured in twenty-nine years. The trial

court granted summary judgment on the buyers’ fraudulent misrepresentation

claim because they had already signed the contracts at the time of the defendants’

representation, and thus did not rely on them. In reversing, the Court of Civil

Appeals held the incorrect maturity date on the loan assumption documents, when

combined with the defendants’ verbal statements regarding the incorrect maturity

date, constituted a false representation. 32 Id. at 443-44.

       Here, while Defendants point to a number of documents referring to Wolf

Bay Landing as a “condominium” consisting of “units,” they do not present

evidence of: (1) any explicit representation that the Condo Declaration was valid

under Alabama law; or (2) any additional misrepresentation by Plaintiffs (like the

32
   To support their argument that the inclusion in documents of the words condominium and unit
constituted misrepresentations, Defendants also rely on Fern Street Inv., LLC v. K&F Rest.
Partners, LLC, No. 13-1935-MHH, 2015 WL 1013167, at *4 (N.D. Ala. Mar. 9, 2015). (Doc.
278 at 16, n.10). There, on a motion to dismiss, a court sitting in this district held statements in a
franchise disclosure agreement were sufficient to state a claim for fraudulent misrepresentation.
Aside from the different procedural posture—the decision in Fern Street was issued at the
motion to dismiss stage—the statements in that franchise disclosure agreement appear to have
been more specific and explicit than the use of the words “condo” or “unit” here. Id. (“the
franchise disclosure document misrepresented the actual state of the franchise business model,”
and the defendants affirmatively understated: (1) the amount of the initial investment by 20%;
and (2) the amount of working capital needed for the first six months).
                                                 32
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verbal misrepresentation in Goggans).      It is true that not all of the writings on

which Defendants rely are contracts. However, each of these documents is a piece

in the mosaic of agreements which effectuated the 2007 Transaction. None of the

documents make any representations regarding the validity of the Condo

Declaration.

      Additionally—to the extent use of the words condo or unit in transactional

documents could be interpreted as stating Wolf Bay Landing consisted of validly

created, ready-to-sell condominium units—any statements regarding the validity of

the Condo Declaration would be no more than an opinion, at least prior to the 2010

ruling in the Bowles Litigation. As Plaintiffs’ note, opinions or predictions are not

misrepresentations upon which Defendants can reasonably rely. See McCutchen

Co. v. Media Gen., Inc., 988 So. 2d 998, 1002 (Ala. 2008) (“A mere statement of

opinion or prediction as to events to occur in the future is not a statement of a

‘material fact’ upon which individuals have the right to rely and, therefore, it will

not support a fraud claim.”) (quoting Crowne Invs., Inc. v. Bryant, 638 So. 2d 873,

877 (Ala. 1994)). (See Doc. 256 at 3).

      Next, simple chronology undermines Defendants’ fraud counterclaim.          As

suggested by the briefing—and as explicitly stated during the November 17, 2020

hearing—Defendants’ theory is that, having referred to condos and units in the

documents surrounding the 2007 Transaction, Plaintiffs’ had a duty to correct


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those misrepresentations when they learned of problems with the Condo

Declaration. (See, e.g., Doc. 278 at 9, 17). 33 To succeed under this reasoning,

Defendants must show Plaintiffs knew of the deficiencies in the Condo Declaration

at some point before the consummation of the 2007 Transaction.

       Unsurprisingly, the parties disagree regarding the date on which the 2007

Transaction closed. It occurred in either October or November 2007. The relevant

dates are: (1) October 5, 2007, when Wolf Pup, Ellis, CCLLC, and others executed

the Specific Performance Agreement (Doc. 246-3), Repayment Agreement (Doc.

246-5), and Pledge Agreement (Doc. 246-2); (2) October 27, 2007, when the

Release Schedule was executed (Doc. 244-19); (3) October 26, 2007, when Wolf

Pup conveyed the sixty Wolf Bay Landing units to CCLLC via the Assumption

Warranty Deed (Doc. 246-6); (4) November 13, 2007, when Wiggins conveyed

Unit A301 to Ellis via Warranty Deed (Doc. 246-11); and (5) November 27, 2007,

when Superior—the final signatory—executed the Modification Agreement34

(Doc. 246-1 at 12). Plaintiffs contend the 2007 Transaction closed on October 26,

2007, when the Assumption Warranty Deed conveyed the units to CCLLC. (E.g.

Doc. 257 at 5). Meanwhile, Defendants argue the 2007 transaction did not close

until Superior signed off on the Loan Assumption Agreement on November 27,

33
   During the hearing, Defendants specifically disavowed any reliance on a theory of fraudulent
suppression, consistent with the court’s dismissal of suppression counterclaims years ago.
34
   Ellis signed the Modification Agreement on October 20, 2007. (Doc. 246-1 at 14).


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2007. (E.g. Doc. 276 at 9). Based on the following discussion, Defendants’ fraud

counterclaim fails regardless of the date on which the 2007 Transaction closed.

       Defendants rely on five documents to show Plaintiffs’ knowledge of defects

in the Condo Declaration. (Doc. 278 at 9). Several of these documents are

temporally irrelevant, even under the Rule 56 standard: (1) a February 14, 2007

letter35 to Peacock from counsel for a purchaser in the Bowles Litigation (Doc.

244-4); (2) a September 1, 2019 affidavit Wiggins submitted in the Malpractice

Litigation (Doc. 244-7 at 6-7); 36 and (3) the April 16, 2009 complaint in the

Malpractice Litigation (Doc. 246-19). 37 Defendants also rely on a July 27, 2007

tolling agreement (Doc. 244-17) between Wiggins, Wolf Pup, Peacock, and others,

regarding any claims arising out of Wolf Bay Landing, including problems with

the Condo Declaration.         However, this release does not impute any specific

knowledge of particular problems with the Condo Declaration, much less that it

failed to create condominiums under Alabama law; neither does it lead to an

inference of knowledge.

35
    This letter predates the April 17, 2007 Condo Declaration and thus is not probative of
Plaintiffs’ knowledge of any defects in the to-be-filed document. (Doc. 244-10). Likewise, the
letter does not point to any problems leading to the summary judgment in the Bowles Litigation.
36
  This affidavit was executed and filed nearly two years after the 2007 Transaction was
complete. (Doc. 244-7 at 6-7). While the affidavit includes Wiggins’s averment that the Condo
Declaration was invalid, it does not state when he reached this conclusion, much less that he
knew it at any point in 2007.
37
  This complaint, filed more than a year after the 2007 Loan Assumption, does not shed light on
when Wiggins learned of problems with the Condo Declaration.
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      Defendants’ strongest evidence suggesting Plaintiffs knew of defects in the

Condo Declaration is an affidavit from Gregory Leatherbury, an attorney for the

original purchaser of Unit A301. (Doc. 244-23). The affidavit describes the

October 24, 2007 telephone conversation with Peacock during which Leatherbury

told her the Condo Declaration was defective and did not create a valid

condominium. (Id. at 4). Attached to the affidavit is a November 2, 2007 letter

Leatherbury sent Peacock. (Id. at 18-20). The letter primarily addresses concerns

with the deeded boat slips. However, it also states “the condominium documents

are not valid as filed” and memorializes Leatherbury’s understanding that Peacock

was taking “curative efforts.” (Id. at 20).

      The October 24, 2007 telephone conversation described by Leatherbury

occurred after the parties here had already executed the Repayment Agreement,

Specific Performance Agreement, Pledge Agreement, Release Schedule, and Loan

Modification. Thus, at the time Leatherbury told Peacock about problems with the

Condo Declaration, the timeline for the events remaining to complete the 2007

Transaction were: (1) two days later—October 26, 2007—Wolf Pup conveyed

sixty units to CCLLC via the Assumption Warranty Deed (Doc. 246-6); (2) twenty

days later—November 13, 2007—Wiggins conveyed Unit A301 to Ellis via

Warranty Deed (Doc. 246-11); and (3) thirty-four days later—November 27,




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2007—Superior signed off on the Modification Agreement, which the other parties

had already executed. (Doc. 246-1).

      While Peacock’s conversation with Leatherbury occurred prior to the

completion of the 2007 Transaction, this conversation does not show Plaintiffs’

knowledge of defects that would lead the Baldwin County Circuit Court to declare

the Condo Declaration invalid more than three years later, on December 9, 2010.

(Doc. 127-2).    An opinion expressed by opposing counsel in an adversarial

proceeding is simply insufficient to impute knowledge of the Condo Declaration’s

invalidity here. Cf. McCutchen, 988 So. 2d at 1002.

      For the foregoing reasons, Defendants cannot show a misrepresentation to

sustain the counterclaim for fraudulent misrepresentation.

            2.     Defendants Cannot Show Reasonable Reliance

      As noted by the Alabama Supreme Court, “a party's failure to exercise some

measure of precaution to safeguard his own interest precludes an action for fraud.”

Potomac Leasing Co. v. Bulger, 531 So. 2d 307, 312 (Ala. 1988). “The right of

reliance comes with a concomitant duty on the part of the plaintiffs to exercise

some measure of precaution to safeguard their interests. In order to recover for

misrepresentation, the plaintiffs' reliance must, therefore, have been reasonable

under the circumstances.” Sandoz, Inc. v. State, 100 So. 3d 514, 527 (Ala. 2012)

(alteration incorporated) (quotation marks omitted).         A party claiming fraud


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“cannot be said to have reasonably relied on alleged misrepresentations when they

have been presented with information that would either alert them to any alleged

fraud or would provoke inquiry that would uncover such alleged fraud.” Id.

      Here, the question of reliance is tied to the Bowles Litigation, which

concluded in December 2010, when the Circuit Court of Baldwin County held the

Condo Declaration failed to create separable, transferrable condominium units.

Wolf Pup initiated the Bowles Litigation in February 2007, seeking specific

performance of previously executed, pre-construction sales contracts with buyers.

On May 7, 2007, the purchaser-defendants in Bowles filed counterclaims against

Wolf Pup, asserting breach of contract, suppression, fraud, and deceit.        The

counterclaims focused on Wolf Pup’s failure to properly construct and permit

deeded boat slips.     (Doc. 127-1).    The purchaser-defendants also asserted

affirmative defenses, including unclean hands due to violations of numerous

portions of the Alabama Condominium Act, including two statutory provisions the

court ultimately relied upon.

      Here, Plaintiffs contend Defendants cannot show reasonable reliance

because they were aware of the Bowles Litigation but did not investigate the nature

of the lawsuit or the status of the Condo Declaration. (Doc. 256 at 20-23). Indeed,

the Bowles Litigation was referenced in the Real Estate Purchase Agreement, the

Specific Performance Agreement, and the title insurance binder CCLLC procured.


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(See id.; Doc. 259-1 SEALED at 4, 7; Doc. 246-3; see also Doc. 257 at 13, 15).38

The Specific Performance Agreement explicitly contemplated that Wolf Pup might

prevail in the Bowles Litigation, implicitly acknowledging Wolf Pup might not

prevail. (Doc. 24-6 at 3 at 2) (providing rights “in the event Wolf Pup succeeds in

its litigation seeking specific performance”).            Additionally, both the Bowles

Litigation and the Condo Declaration were matters of public record to which

Defendants had access.

       Defendants contend they were not required to investigate public records to

ascertain the validity of the Condo Declaration. (Doc. 278 at 19-20) (quoting

Dickinson v. Moore, 468 So. 2d 136, 138 (Ala. 1985), for the proposition that “one

acquiring real property is under no affirmative duty to examine the public records

in order to ascertain the true state of the title.”). In Dickinson, the purchaser of


38
   While the parties disagree about the legal impact of the Real Estate Purchase Agreement—
they ultimately executed and proceeded under the Modification Agreement—this dispute is not
material to resolution of the instant motions. It is undisputed that the parties negotiated and
signed the Real Estate Purchase Agreement on August 7, 2007. The Real Estate Purchase
Agreement specifically referenced the Bowles Litigation twice, including in the final paragraph,
immediately above Ellis’s signature. (Doc. 259-1 SEALED at 7). That paragraph states:

       Seller shall indemnify Purchaser against any and all court ordered damages
       actually incurred by Purchaser in connection with any claim arising out of the
       litigation currently pending in Baldwin County, Alabama, styled as Wolf Pup,
       LLC v. Linton D. Bowles, et al., CV-20070900084, and or any future claims
       which cover any actions of the Seller prior to Closing.

(Id.). Additionally, Ellis was aware the title insurer initially wanted to except coverage from
issues arising from the Bowles Litigation. (See Doc. 257 at 13, 15). Ellis also testified he
discussed the Bowles Litigation with Raley; Raley reassured him it was nothing to worry about.
(See Doc. 278 at 22).
                                              39
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real property repeatedly inquired—during both negotiations and closing—about

the state of his title in the property. Each time, the seller responded he owned the

property “lock, stock, and barrel” and would convey full title. Id. at 137. After

purchasing the property, the buyer discovered the seller’s son had retained an

interest in it. The jury found in favor of the plaintiff/purchaser on his claim for

fraudulent misrepresentation. On appeal, the Alabama Supreme Court affirmed,

finding the seller’s repeated reassurances that he was conveying fee simple title

rendered the purchaser’s reliance reasonable. Dickinson, 468 So. 2d at 138 (“we []

cannot allow a seller of land to induce the purchase by misrepresenting facts he

knew to be false”). In affirming, the court quoted an earlier decision in which it

held:

        A party asserting facts cannot complain that the other took him at his
        word. “Positive representation of a fact cannot be counteracted by the
        implication that the party might have ascertained to the contrary;
        under such circumstances he need not institute an independent
        investigation.”

Id. (quoting Shahan v. Brown, 52 So. 737, 738 (Ala. 1910)).

        The facts of this case do not line up with those presented in Dickinson.

There, the plaintiff repeatedly and specifically asked whether he was purchasing

the property in fee simple.       Each time, the defendant explicitly answered

affirmatively. Here, Defendants never inquired about the status of the Condo

Declaration. Indeed, the only representations Ellis relied upon were inclusions of

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the words “condominium” and “unit” in the various documents he executed to

complete the 2007 Transaction.      From the use of these words, Ellis assumed the

Condo Declaration created separable, ready-to-sell condominiums; he never asked

about the Condo Declaration, and no one ever told him it complied with Alabama

law.

        Additionally, at least one other case suggests purchasers of real estate do

have a duty to investigate publicly available information. In Morris v. Strickling,

579 So. 2d 609 (Ala. 1991), the plaintiffs were purchasers of a subdivision lot

developed by the defendants. The plaintiffs constructed a home on the lot without:

(1) inquiring about the lot’s suitability for construction; or (2) conducting any sub-

surface soil testing.   After the house was constructed, the plaintiffs noticed

excessive foundation cracking and discovered all manner of garbage near the base

of the house; they later discovered the lot previously had been used as a trash

dump.     The plaintiffs sued, asserting breach of implied warranty, fraudulent

suppression, fraudulent misrepresentation, and other claims.          The trial court

granted summary judgment on all claims in favor of the defendants, applying the

doctrine of caveat emptor. Id. at 610. The Alabama Supreme Court affirmed. Id.

at 611. With regard to the fraud-based claims, the Alabama Supreme Court held

they failed due to: (1) the plaintiffs’ failure to inquire regarding the suitability of

the lot; and (2) the publicly available subdivision plans, which revealed the lot’s


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past use as a dump. Id. While the court’s discussion of the fraud claims was not

couched in terms of reasonable reliance, it clearly implicates the principle.

       Here, following the rationale of Morris, Defendants’ counterclaims for

fraudulent misrepresentation fail. Just as the plaintiffs in Morris did not inquire

regarding the suitability of the lot, Defendants here did not inquire about the status

of the Condo Declaration. Likewise, just as the subdivision plans were public

records available to the plaintiffs in Morris, here, both the Bowles Litigation—

including the purchasers’ eventually-successful affirmative defenses—and the

Condo Declaration were matters of public record which were available to

Defendants. Ellis was a sophisticated party with formidable experience in real

estate transactions and condominium projects. For a reasonable person with Ellis’s

experience conducting a multi-million-dollar transaction, discovery of the Bowles

Litigation—concerning buyers backing out of sales contracts—“should have

provoked inquiry or a simple investigation of the facts.” Sandoz, Inc., 100 So. 3d

at 527-28 (quoting AmerUs Life Ins. Co. v. Smith, 5 So. 3d 1200, 1216 (Ala.

2008)).39 Ellis is “charged with knowledge of all the information that the inquiry

would have produced.” Id. at 528.


39
   Faced with similar scenarios in the context of fraudulent suppression, Alabama courts have
held that information available in public records foreclosed the claims. Gewin v. TCF Asset
Mgmt. Corp., 668 So. 2d 523, 529 (Ala. 1995) (“The existence of the litigation was a matter of
public record. . . . Thus, experienced real estate investors, like [plaintiffs], could have discovered
it by the exercise of due diligence.”) (citation omitted); Auburn’s Gameday Ctr. at Magnolia
Corner Owners Assoc. Inc. v. Murray, 138 So. 3d 317, 331 (Ala. Civ. App. 2013) (affirming
                                                 42
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       Defendants cannot establish the reasonable reliance required to sustain the

counterclaim for fraudulent misrepresentation.             For this reason—and for the

independently-sufficient        reason      that     Defendants        cannot       show      a

misrepresentation—there are no genuine issues of material fact, and Plaintiffs are

entitled to judgment as a matter of law as to Defendants’ counterclaim for

fraudulent misrepresentation.

       B.     Claims and Counterclaims Concerning the Guaranties and Loan

       The parties each have two claims arising under the Loan and Guaranties: (1)

Plaintiffs’ Count I (statutory exoneration under § 8-3-13); (2) Plaintiffs’ Count II

(release of guaranty); (3) Defendants’ Counterclaim II (breach of contract for

default on the Loan); and (4) Defendants’ Counterclaim III (breach of guaranty).

Plaintiffs’ Count I and Count II are subject to Defendants’ defensive motion for

summary judgment (Doc. 238) and Plaintiffs’ offensive motion for summary

judgment (Doc. 252).          Defendants’ Counterclaims II and III are subject to

Defendants’ offensive motion for summary judgment (Doc. 240) and Plaintiffs’

defensive motions for summary judgment (Docs. 249, 252).




judgment in favor of condominium complex owners, noting the buyers “were placed on notice of
the existence of the publicly recorded declaration and amendment” and were “familiar with and
had experience in the workings of condominiums”). Here, in addition to Ellis’s testimony
regarding his extensive background in real estate and condominium projects, he further stated he
did not ask any questions about the validity of the Condo Declaration and that he was aware of
the lawsuit—which was public record—but did not investigate.
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      Among the arguments presented in Plaintiffs’ briefing of the pending

motions regarding their Count II is that the Pledge Agreement estops Defendants

from enforcing the Guaranties. (See, e.g. Doc. 253 at 28-30; Doc. 256 at 51-52;

Doc. 283 at 31-32). Specifically, Plaintiffs rely on paragraph 12 of the Pledge

Agreement—between Ellis and Raley (as the “Pledgors”) and Wolf Pup—which

provides:

      All indebtedness to Superior Bank shall be refinanced, or otherwise
      paid in full, on or before one (1) year from the date hereof, and the
      current guarantors thereof released, or the Borrowers shall be
      considered in default, and in default of the Loan Documents.

(Doc. 246-2 at 6).

      The court concludes the rationale expressed by the Fifth Circuit in In re

Pirani, 824 F.3d 483 (5th Cir. 2016), although not briefed by the parties, supports

Plaintiffs’ argument regarding the Pledge Agreement’s impact on the Guaranties.

It is undisputed that, at the time the parties executed the Pledge Agreement, they

all intended Ellis would pay off or refinance the Loan within one year, releasing

the guarantors—including Wiggins. (See Doc. 255-1 at 24, 82). For the same

reasons explained in the accompanying memorandum opinion and order on

reconsideration of Defendants’ and Peacock’s cross-motions for summary

judgment, Ellis cannot enforce the Guaranties in light of the Pledge Agreement.

      Rather than unnecessarily lengthen the instant tome, the court incorporates

the accompanying memorandum opinion’s discussion of the Pledge Agreement
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and its impact on the Guaranties.        Any arguments Defendants assert against

Plaintiffs’ reliance on the Pledge Agreement that are not addressed in the

accompanying memorandum opinion concerning Peacock’s and Defendants’ cross-

motions are addressed in the instant opinion.        However, because Defendants’

arguments concerning the Pledge Agreement overlap with similar arguments

regarding the Repayment Agreement, they are discussed in the following section,

concerning Plaintiffs’ Count III.     Before turning to this discussion, Plaintiffs’

request for attorney’s fees under the Pledge Agreement will be addressed.

             1.     Plaintiffs’ Request for Attorneys’ Fees

      Plaintiffs also seek attorneys’ fees and expenses under the Pledge

Agreement. (Doc. 248 at 15, n.13). The Pledge Agreement provides:

      In the event that it becomes necessary for Pledgee [i.e., Wolf Pup] to
      initiate litigation for the purpose of enforcing any of its rights
      hereunder or for the purpose of seeking damages for any violation
      hereof, then, in addition to all other judicial remedies that may be
      granted, Pledgee shall be entitled to recover reasonable attorneys’ fees
      and all other cost that may be sustained by it in connection with such
      litigation.

(Doc. 246-2 at 5). Defendants contend Plaintiffs are not entitled to relief under

this provision because they have not presented any evidence regarding the amount

of fees or costs incurred. (Doc. 277 at 18). In reply, Plaintiffs contend they seek

leave to prove their attorney’s fees at trial. (Doc. 299 at 23-24).




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      In support of their contention that Plaintiffs have missed their opportunity to

prove attorney’s fees, Defendants cite three cases: Bus. Loan Ctr., LLC v. M/V

CAPE FLORIDA, No. 17-0555, 2018 WL 1881262, at *4 (S.D. Ala. Apr. 19,

2018); RBC Bank (USA) v. Glass, 773 F. Supp. 2d 1245, 1247 (N.D. Ala. 2011);

and Koninklijke Ahold, N.V. v. Millbrook Commons, LLC, No. 10-1060, 2013 WL

4045072, at *3 (M.D. Ala. Aug. 8, 2013). (Doc. 277 at 18). However, these

opinions issued when there was nothing left for the respective courts to decide. In

Glass, the movant had prevailed on summary judgment, and no claims remained

for trial. 773 F. Supp. 2d at 1247 (denying post-judgment motion for attorney’s

fees). Similarly, in Koninklijke the court conducted a bench trial, after which the

prevailing party moved for attorney’s fees via post-judgment motion. 2013 WL

4045072, at *3 (denying post-judgment motion for fees because the movant had

not presented any evidence at trial).     The third case Defendants cite is also

inapposite; there the court entered default judgment, but excluded attorney’s fees

from the award because the movant had not presented any evidence regarding fees

incurred—despite the court’s invitation to remedy the shortcoming. M/V Cape

Florida, 2018 WL 1881262 at *4. In each of these cases, the proceedings had

concluded and there was nothing left to prove.

      There remains a matter for trial in the instant case: the amount of damages

Plaintiffs suffered from Superior’s seizure of—and Defendants’ refusal to repay—


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funds Plaintiffs deposited into the Interest Reserve Account. Rule 54 provides a

“claim for attorney's fees and related nontaxable expenses must be made by motion

unless the substantive law requires those fees to be proved at trial as an element of

damages.” FED. R. CIV. P. 54(d)(2)(A) (emphasis added). Here, damages are an

integral part of Plaintiffs’ breach of contract claim to be proven at trial. See

Koninklijke, 2013 WL 4045072, at *2 (“the claim for attorneys' fees may be

waived if not properly presented at trial”); Glass, 773 F. Supp. 2d at 1247 (If, in

the instant case, the court had denied RBC's motion for summary judgment, and

the case had been tried to the jury demanded by the Glasses, and if the Glasses had

not agreed to bifurcate or postpone the attorney's fee question for adjudication by

the court, RBC would have been required to prove its attorney's fees as part of its

case-in-chief.”). For the foregoing reasons, Plaintiffs can prove their attorneys’

fees and expenses at trial.

             2.     Conclusion Regarding Claims Under Guaranties and Loan

      In light of the foregoing discussion—including its incorporation of the

rationale from the accompanying memorandum opinion concerning Peacock’s and

Defendants’ cross-motions—there are no genuine issues of material fact with

regard to Plaintiffs’ Count II; Plaintiffs are entitled to judgment as a matter of




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law. 40 Accordingly, Plaintiffs’ offensive motion for summary judgment (Doc. 252)

will be granted; Defendants’ defensive motion for summary judgment necessarily

will be denied as to these claims (Doc. 238). Defendants’ offensive motion for

summary judgment with regard to their Counterclaims II (breach of the Loan) and

III (breach of Guaranties) will be denied for the same reasons. (Doc. 240).

       C.      Plaintiffs’ Claims Under the Repayment Agreement41

       Four of Plaintiffs’ other claims seek relief under—or related to—the

Repayment Agreement: (1) Count III, asserting breach of contract; (2) Count V,

asserting a claim for money paid; and (3) Count VIII, asserting conversion as to

Wiggins’s Pledged Collateral; and (4) Count X, asserting a claim for unjust

enrichment with regard to Wiggins’s Pledged Collateral, in the alternative to

breach of contract. (See Doc. 282 at 56-57). Defendants’ defensive motion for

summary judgment is aimed at each of these claims. (Doc. 238). Plaintiffs seek

offensive summary judgment on their claim for breach of contract in Count III.

(Doc. 247).

       Defendants—collectively          defined      as   the   “Borrower”—executed            the

Repayment Agreement in favor of Wolf Pup, its members, and its members’

40
   This decision pretermits discussion of Plaintiffs’ Count I, which seeks the same relief—release
of the Guaranties—under an entirely different rationale. In light of the relief granted here, Count
I will be dismissed as duplicative.
41
   As mentioned above, Defendants’ defenses to Plaintiffs’ claims under the Pledge
Agreement—which overlap with their defenses to Plaintiffs’ claims under the Repayment
Agreement—are also discussed in this section.
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owners.   (Doc. 246-5).    As a reminder, the Repayment Agreement required

Defendants to repay any portion of the Pledged Collateral seized by Superior; it

also provided Defendants would not sell Wolf Bay Landing in its entirety absent

payment in full of the Loan and repayment of any Pledged Collateral Superior

seized. (Id. at 2). Meanwhile, the Pledge Agreement—executed on the same

day—included the already-discussed provision requiring Ellis to repay or refinance

the Loan within one year, releasing the guarantors. (Doc. 246-2 at 6).

            1.     Defendants’ Defensive Motion for Summary Judgment

      Defendants’ fraud allegations—premised on the invalidity of the Condo

Declaration—are not merely grounds for their fraudulent misrepresentation

counterclaim; Defendants also employ these allegations as their principal defense

to Plaintiffs’ claims under the Pledge Agreement and Repayment Agreement.

(Doc. 239 at 42-48). For the same reasons Defendants’ allegations concerning the

defective Condo Declaration cannot sustain their counterclaim for fraud, they also

are insufficient to show fraud as a defense to Plaintiffs’ claims under the

Repayment and/or Pledge Agreements.

      Defendants assert several additional defenses to Plaintiffs’ claims under the

Repayment and/or Pledge Agreements. First, Defendants contend Wiggins cannot

assert claims under these agreements because he was not a party to them. (E.g.

Doc. 239 at 29, 37, n.18; Doc. 293 at 9-11). The remainder of Defendants’


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defenses arise from the deficiencies in the Condo Declaration: (1) failure of

consideration; (2) Plaintiffs’ own breach; (3) failure of a condition precedent; (4)

impossibility and frustration of purpose; and (5) unclean hands. (Doc. 239 at 37-

50). The court will first address Wiggins’s third-party beneficiary status before

turning to the defenses premised on the invalidity of the Condo Declaration.

                   a.     Wiggins’s Third-Party Beneficiary Status

      The parties to the Pledge Agreement were Ellis, Raley, and Wolf Pup. (Doc.

246-2). While Wiggins signed the Pledge Agreement, he did so as Wolf Pup’s

authorized representative, not in his personal capacity. (Id. at 6). Similarly,

Wiggins signed the Repayment Agreement as Wolf Pup’s authorized

representative. (Doc. 246-5 at 3). The other signatory was Ellis, who signed both

individually and as CCLLC’s managing member. (Id.). Accordingly, Wiggins

was not a party to these agreements in his personal capacity. On these facts,

Defendants contend Wiggins cannot assert claims under these agreements because

he did not plead third-party beneficiary status. (Doc. 279 at 13, 22, 25, 27). In

support, Defendants quote Fuller v. Winn-Dixie Montgomery, LLC, No. 16-363,

2017 WL 3098104 (S.D. Ala. July 19, 2017). (Doc. 279 at 13, n.8) (“For the third-

party beneficiary claim . . . , Fuller cannot raise new claims on summary judgment

and is limited to the allegations of the operative complaint, which did not include

this claim.”) (footnote omitted).


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      “A party claiming to be a third-party beneficiary, ‘must establish that the

contracting parties intended, at the time the contract was created, to bestow a direct

benefit upon the third party.’” Walker v. Allstate Prop. & Cas. Ins. Co., No. 19-

0701-RDP, 2020 WL 1235626, at *7 (N.D. Ala. Mar. 10, 2020) (quoting Airlines

Rep. Corp. v. Higginbotham, 643 So. 2d 952, 954 (Ala. 1994)).             A plaintiff

asserting a breach of contract claim as a third-party beneficiary “must allege ‘facts

in the complaint suggesting that either party to the contract intended it to directly

benefit him at the time they executed the contract.’” Id. (alterations incorporated)

(quoting Thomas v. Am.'s Serv. Co., No. 15-0019-AKK, 2015 WL 4729792, at *2

(N.D. Ala. Aug. 10, 2015)).

      Here, Wiggins personally stood to benefit under both the Pledge Agreement

and the Repayment Agreement. The Repayment Agreement provided, in the event

any of the Pledged Collateral was seized, Defendants would “immediately repay to

Wiggins any portion of the $1,500,000 collateral and interest accrued thereon

posted by Wiggins.” (Doc. 246-5 at 2). Likewise, Wolf Bay Landing could not be

sold without payment of the Loan in full. (Id.). Similarly, the Pledge Agreement

provided Ellis would repay or refinance the Loan within one year, releasing the

guarantors—including Wiggins. (Doc. 246-2 at 6). Clearly, the signatories to

these agreements intended Wiggins to benefit directly at the time of their




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execution. Moreover, Plaintiffs alleged these facts prominently in the Second

Amended Complaint. (Doc. 94 at 2-6). See Walker, 2020 WL 1235626, at *7.

       To the extent Defendants challenge Plaintiffs’ allegations concerning

Wiggins’s capacity to sue as a third-party beneficiary, a party is not required to

allege their authority or capacity to sue under Rule 9(a) of the Federal Rules of

Civil Procedure. Instead, Rule 9(a)(2) places the burden to prove lack of capacity

on the party challenging it. See James v. City of Huntsville, No. 14-2267-AKK

(N.D. Ala. Mar. 4, 2015), Doc. 10, R&R adopted May 26, 2015. 42 Defendants do

not dispute Wiggins is in fact a third-party beneficiary; instead they merely

challenge the allegations of this status in the Second Amended Complaint. As

shown above, Wiggins’s status as a third-party beneficiary is obvious from the face

of the operative complaint. Additionally, the only case cited by Defendants in

support of this argument—Fuller—also addressed the failure to plead the

underlying claim, not merely to failure to plead capacity. (See Doc. 279 at 13, n.8,

42
  Presented with a motion to dismiss for failure to specifically plead personal representative
capacity with regard to a wrongful death claim under §1983, this court held:

       Rule 9(a)(1)(B) of the Federal Rules of Civil Procedure provides that a pleading
       need not allege a party’s authority to sue in a representative capacity unless
       required to show the court has jurisdiction. See Fed. R. Civ. P. 9(a)(1)(B); see
       also 5A C. Wright & A. Miller, Federal Practice and Procedure § 1292 (3d ed.).
       “The rationale behind this rule is that the nature of the plaintiff’s cause of action
       can be determined from the body of the complaint.” Colorado Springs
       Cablevision, Inc. v. Lively, 579 F. Supp. 252, 255 (D. Colo. 1984). A defendant
       must challenge a plaintiff’s authority to sue in a representative capacity by a
       specific denial. Fed. R. Civ. P. 9(a)(2).

James, No. 14-2267, Doc. 10 at 4-5.
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22). Accordingly, Defendants are not entitled to summary judgment on the basis

of their arguments regarding Wiggins’s third-party beneficiary status.

                   b.    Defenses Based on Invalid Condo Declaration

      Defendants’ remaining defenses to Plaintiffs’ claims under the Repayment

and Pledge Agreements all rely on deficiencies in the Condo Declaration. Each of

these arguments implicitly rests on the theory that the validity of the Condo

Declaration—creating ready-to-sell condominium units—was the cornerstone of

the entire 2007 Transaction. However, none of the documents effectuating the

2007 Transaction is explicitly premised on the validity of the Condo Declaration.

Indeed, the evidence shows a valid Condo Declaration was not material to the 2007

Transaction, Ellis’s post hoc testimony notwithstanding.

      The Gulf Coast condo market had declined by the time the parties completed

the 2007 Transaction. These adverse conditions in the condo market persisted and

did not recover until sometime after 2010. (See Doc. 255-1 at 87). Ellis testified

CCLLC never received an acceptable offer for a unit at Wolf Bay Landing before

selling the development to Trinity Retreat in 2014. (Id.). During that time, the

offers which did come in were for approximately forty percent of the values

reflected in the Release Schedule. (Id.). Accordingly, Ellis testified that, even if

the Condo Declaration had been valid, CCLLC would not have sold any units

through 2010. (Id.).


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      Other evidence supports Ellis’s testimony in this regard. In a December 11,

2009 email to Wiggins, Ellis noted his ultimate goal was to “sell out of the project

once the market returns.” (Doc. 281-127). In a March 23, 2010 email exchange,

Wiggins expressed his interest in “expedit[ing] sales as soon as possible.” (Doc.

297-19 at 3). In response, Ellis stated sales were not his “most immediate goal,

until the market returns to cover the full release fee due to Superior Bank, plus

make a profit on the sale. Also, I do not want to have to recapture the stepped up

deprec[i]ation that has been taken via the Go Zone credit for these units.” (Id.).

To the extent Defendants contend the failure of the Condo Declaration affected the

sales contracts existing at the time of the 2007 Transaction, the Bowles litigation

was already under way at that time and was referenced in agreements Defendants

signed. Indeed, as previously mentioned, the Specific Performance Agreement

implicitly recognized the purchaser-defendants might prevail in the Bowles

Litigation. (Doc. 246-3).

      Further belying the materiality of the status of the Condo Declaration is that

Ellis’s attorney cured the defect simply by filing a new declaration of

condominium on June 25, 2014, the day after the foreclosure sale. (See Doc. 255-1

at 45; Doc. 299 at 10). Ellis testified he could have cured the defects in the Condo

Declaration earlier but chose not to because he was “flat broke” and having a valid

declaration was not a priority in 2010 and 2011. (Doc. 255-1 at 45, 87). Neither


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did Ellis ever make a claim on the title insurance policy. (Id. at 45). Similarly, the

Real Estate Purchase Agreement, which the parties negotiated and signed after the

Condo Declaration was filed, described Wolf Bay Landing on a metes and bounds

basis. (Doc. 259-1 SEALED at 14). Accordingly, the facts presented here do not

support Defendants’ contention that the validity of the Condo Declaration was a

material factor during the 2007 Transaction.

       Regardless, “a plaintiff cannot simultaneously claim the benefits of a

contract and repudiate its burdens and conditions.” Lyles v. Pioneer Hous. Sys.,

Inc., 858 So. 2d 226, 229 (Ala. 2003) (quoting S. Energy Homes, Inc. v. Ard, 772

So. 2d 1131, 1134 (Ala. 2000) (alteration incorporated; quotation marks omitted).

There is a factual dispute regarding precisely when Defendants knew of the

problems with the Condo Declaration. Ellis testified he learned of the defects a

“short” time after the December 2010 ruling in the Bowles litigation. (Doc. 255-1

at 33). Whether Ellis learned of the defective Condo Declaration shortly after the

Bowles Litigation concluded—or as strongly suggested by the evidence, sometime

during the preceding year43—does not affect the legal consequences of

Defendants’ subsequent actions.


43
   Other evidence suggests Ellis was aware of problems with the Condo Declaration at least as
early as 2009. (Doc. 297-10) (November 18, 2009 email from Superior Bank’s Bill McKinnon
to Ellis, attaching Wiggins’s state court complaint against Peacock—which alleged problems
with the Condo Declaration). There were also communications in 2010—prior to the judgment
in Bowles—suggesting Ellis was aware of problems with the Condo Declaration. (See Doc. 281-
147 (April 1, 2010 email from Balch & Bingham’s Randolph Lanier to Ellis, Wiggins, and
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       Rather than taking action upon learning of the defective Condo Declaration,

Defendants continued to benefit from ownership of Wolf Bay Landing, including

exercising exclusive dominion over the property, collecting rents, and retaining the

benefit of accelerated GO Zone depreciation. Defendants also retained the benefit

of Wiggins’s Pledged Collateral, which Superior seized and applied against the

principal of the Loan. In June 2014, Defendants exercised the ultimate benefit of

ownership when they sold Wolf Bay Landing to Trinity Retreat, extinguishing

Ellis’s personal debt for a fraction of the amount he owed. Having reaped these

benefits of ownership, even after learning of the Condo Declaration’s defects—

shortly after December 2010, at the very latest—Defendants cannot seek to avoid

the burdens of their agreements with Plaintiffs. Lyles, 858 So. 3d at 229.

       Defendants’ contract defenses, which fail for independently sufficient

reasons, are addressed in turn.




others, attaching As-Built drawings and stating: “Wolf Pup and Character Counts need to get a
good condo lawyer to file an appropriate amendment to the Declaration of condominium to get
this fixed.”); Doc. 281-151 (April 5, 2010 email from Lanier to Ellis, recommending lawyers in
Baldwin County “for condominium work”); Doc. 281-141 at 3 (August 7, 2010 memo from
Frank Ellis accompanying the documents from the 2007 Transaction, stating: “I know that I have
a couple of ‘Achilles heel’ documents, at the same time, my performance was limited due to the
misrepresentation by Wolf Pup LLC that I was purchasing a fully approved condominium
project that could be sold and financed by third party purchasers, which is even currently not the
case, based on Wiggins’ own suit against . . . Linda Peacock . . . . I should have for you
tomorrow the law suit number against the local realtor and then the counter claim by him and
other contract purchasers stating this flaw in the condo formation . . . . The plot thickens.”)).
This chronology, especially when combined with his March 31, 2011 purchase of Unit A110,
suggests the status of the Condo Declaration was immaterial to Ellis.
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                         i.     Failure of Consideration

      “Consideration must be present when the contract is made.” Fant v.

Champion Aviation, Inc., 689 So. 2d 32, 37 (Ala. 1997). “The requirement of

consideration means that a gratuitous promise is not enforceable.” Id. “Under

Alabama law, failure of consideration is an affirmative defense to enforcement of a

contract.” Hardy v. Jim Walter Homes, Inc., No. 06-0687, 2008 WL 906455, at *6

(S.D. Ala. April 1, 2008). As the Alabama Supreme Court has held:

      The failure of consideration is “‘the neglect, refusal and failure of one
      of the contracting parties to do, perform, or furnish, after making and
      entering into the contract, the consideration in substance and in fact
      agreed on.’” Lemaster v. Dutton, 694 So. 2d 1360, 1366 (Ala. Civ.
      App. 1996) (quoting 17 C.J.S. Contracts § 129 (1963)). Additionally,
      a failure of consideration is “‘predicated on the happening of events
      which materially change the rights of the parties, which events were
      not within their contemplation at the time of the execution of the
      contract.’” Lemaster, 694 So. 2d at 1366.

Self v. Slaughter, 16 So. 3d 781, 787 (Ala. 2008). As a court sitting in the

Southern District of Alabama has explained, failure of consideration and lack of

consideration are two distinct theories. Hardy, 2008 WL 906455, at *7. In Hardy,

a case cited by Defendants, the court discussed:

      the distinct doctrines of lack of consideration (a contract formation
      issue which goes to the existence of a contract in the first instance)
      and failure of consideration (a contract performance issue under
      which an otherwise valid contract may be voided by one party after
      the fact for the other party's failure to perform). Compare Lemaster v.
      Dutton, 694 So. 2d 1360, 1366 (Ala. Civ. App. 1996) (“Typically, a
      total failure of consideration is used as an excuse for nonperformance

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      of a contract.”) with Marcrum v. Embry, 282 So. 2d 49, 51 (Ala.
      1973) (valid contract requires “valuable consideration moving from
      one side to the other” or “binding promises on the part of each party to
      the other”); see generally Belew v. Rector, 202 S.W. 3d 849, 854 n. 4
      (Tex. App.-Eastland 2006) (explaining that “lack of consideration”
      and “failure of consideration” represent different defenses, and that
      “lack of consideration exists, if at all, immediately after the execution
      of a contract while failure of consideration arises because of
      subsequent events”).

Id.; (see Doc. 239 at 37; Doc. 293 at 11).

      Here, Defendants contend the flaws in the Condo Declaration constitute a

failure of consideration, excusing them from performing under the Pledge

Agreement and the Repayment Agreement. (E.g. Doc. 239 at 37-38; E.g. Doc. 279

at 25, 27).44 However, the chronology of events in this case does not support a

failure of consideration defense.        Even if the defective Condo Declaration

constituted a breach, it was present at the time the parties consummated the deal.

While the failure of Condo Declaration was not definitively announced until the

conclusion of the Bowles Litigation in 2010, the underlying defects were present

prior to, during, and after the execution of the 2007 Wolf Bay Landing transaction;

no “subsequent event” affected the validity of the Condo Declaration. Hardy,




44
  Defendants also contend there was no consideration as to Ellis under either the Pledge or
Repayment Agreements. (Doc. 239 at 39).
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2008 WL 906455, at *7. Accordingly, failure of consideration does not apply to

the facts of this case. See id.45

       Neither does a total lack of consideration apply to the extent asserted on

behalf of Ellis. The failure of the Condo Declaration notwithstanding, the parties

exchanged a number of rights in exchange for Defendants’ assumption of the Loan,

including transfer of the entire property to Defendants’ exclusive possession in

2007. Additionally, Defendants benefitted from continued use of the Plaintiffs’

Pledged Collateral to secure the Loan and from Wiggins’s agreement to consent to

the Modification Agreement as a guarantor. The foregoing benefits to Defendants,

including Ellis, were the valuable consideration exchanged for Defendants’

execution of the Pledge and Repayment Agreements. These two agreements were

among the documents that effectuated the 2007 Transaction; they operated to

induce Plaintiffs to enter into the deal and accept the risks embodied in the other

agreements. (Doc. 246-2 at 2) (Pledge Agreement intended “to induce [Wolf Pup]

to enter into and accept the Loan Documents” and was made “in consideration of

45
   Defendants citation of Kelso v. Int’l Wood Prods, Inc., 588 So. 2d 877, 878 (Ala. 1991), hints
at this deficiency. (See Doc. 239 at 39). Kelso concerned the plaintiff’s attempt to enforce a
gratuitous promise—a promise for which no consideration was ever exchanged—which created
“no legally enforceable contract right.” Id. Also inapposite is Local 798 Realty Corp. v. 152 W.
Condo., 37 A.D. 3d 239, 240 (2007), another case cited by Defendants. (See Doc. 239 at 38,
n.19). There the court, applying New York law, dismissed a lawsuit seeking specific
performance of a contract purporting to convey three non-existent condominium units; the court
held the purchasers had the right to cancel the contract under its express terms. Local 798, 37
A.D. 3d at 240. Tellingly, the plaintiffs in Kelso sought recission, seeking to undo the void
contract. Defendants here have explicitly and repeatedly foresworn recission. (Doc. 278 at 12;
Doc. 293 at 13).
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the premises and mutual covenants contained in the Loan Agreements”); (Doc.

246-5 at 2) (Repayment Agreement signed “in consideration of the

contemporaneously executed documents”).          Clearly, the parties exchanged

consideration with respect to the 2007 Transaction.

      For the foregoing reasons, Defendants are not entitled to defensive summary

judgment for failure of consideration.

                         ii.    Plaintiffs’ Breach

      Next, Defendants contend the defective Condo Declaration constituted

Plaintiffs’ breach of the parties’ contracts, preventing Plaintiffs from suing

Defendants for subsequent breaches. (Doc. 239 at 39-40). In addition to the

problems discussed above, occasioned by Defendants’ acceptance of the benefits

of owning—and eventually selling—Wolf Bay Landing, this argument fails

because Defendants have not established the defective Condo Declaration

constitutes a breach of any of the parties’ agreements, including the Pledge

Agreement or the Repayment Agreement.

      The Repayment Agreement refers to “Wolf Bay Landing Condominiums”

three times: (1) in the opening paragraph, noting the purchase price; (2) in

paragraph 6a, providing Defendants would not sell the “Wolf Bay Landing

Condominium project” in its entirety absent payment in full of the Loan and return

of the Pledged Collateral; and (3) in paragraph 6b, providing that certain proceeds


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from the sale of any unit would be placed in escrow until the Pledged Collateral

was returned to Wiggins. (Doc. 246-5 at 2-3). Similarly, paragraphs six and seven

of the Pledge Agreement provide for the sale of units and the allocation of sales

proceeds. (Doc. 246-2 at 3-4). While it is clear that no individual condominium

units could be sold absent a valid condominium declaration, the Repayment

Agreement and Pledge Agreement are entirely silent regarding the existence—

much less the validity—of the Condo Declaration or the party responsible for

creating and filing it. The same is true regarding the other agreements surrounding

the 2007 Transaction.     Accordingly, the defective Condo Declaration did not

constitute a breach of any contract by Plaintiffs.

      Finally, once the 2007 Transaction was complete, Defendants had exclusive

ownership and control of Wolf Bay Landing. Ellis testified he could have cured

the defects in the Condo Declaration earlier but chose not to do so. (Doc. 255-1 at

45, 87).   As noted in one of the cases quoted by Defendants, the law does not

allow a contracting party “to take advantage of an obstacle to performance which .

. . lies within his power to remove.” (Doc. 239 at 40) (quoting Gulf, Mobile &

Ohio R.R. Co. v. Ill. Cent. R.R. Co., 128 F. Supp. 311, 324 (N.D. Ala. 1954)).

      For the foregoing reasons, Defendants are not entitled to defensive summary

judgment due to any breach by Plaintiffs.




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                          iii.   Condition Precedent

      Defendants also contend the validity of the Condo Declaration was a

condition precedent. (Doc. 239 at 40-41). A condition precedent is an act or event

which must occur before a contractual duty to perform arises. CAM Invs., LLC v.

Totty, 128 So. 3d 749, 753 (Ala. Civ. App. 2013). Defendants posit the “entire

purpose of the transactions at issue in this case surround a conveyance of Wolf Bay

Landing as condominium units to CCLLC.” (Doc. 239 at 41). In support of this

contention, Defendants rely on the same arguments advanced with regard to their

counterclaim for fraud: the appearance of the words “condominium” and “unit” in

the various documents effectuating the 2007 Transaction. (Id. at 41). For the same

reasons explained in the foregoing pages, this argument fails.

      For the foregoing reasons, Defendants are not entitled to defensive summary

judgment for failure of a condition precedent.

                          iv.    Impossibility and Frustration of Purpose

      Next, Defendants assert the failure of the Condo Declaration rendered their

performance impossible or frustrated the purpose of the 2007 Transaction. (Doc.

239 at 48-49). The rationale explained in the foregoing subsection applies equally

to these theories. Additionally, as discussed in more detail, supra, with regard to

Defendants’ counterclaim for fraud, Defendants were on notice of the Bowles

Litigation. Therefore, they could have foreseen the problems with the Condo


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Declaration, foreclosing their impossibility defense. See Mayo v. Andress, 373 So.

2d 620, 624 (Ala. 1979).

      For the foregoing reasons, Defendants are not entitled to defensive summary

judgment under the doctrines of impossibility and/or frustration of purpose.

                           v.   Unclean Hands

      Finally, Defendants argue the invalid Condo Declaration precludes

Plaintiffs’ claims under the Repayment Agreement and the Pledge Agreement on

the theory of unclean hands. (Doc. 239 at 49-50). A party asserting an unclean

hands defense must show “specific acts of willful misconduct which is morally

reprehensible as to known facts.” Retail Devs. of Ala., LLC v. E. Gadsden Golf

Club, Inc., 985 So. 2d 924, 932 (Ala. 2007) (citing Sterling Oil of Okla., Inc. v.

Pack, 287 So. 2d 847, 864 (Ala. 1973)). “Unclean hands is an equitable defense

that is akin to fraud; its purpose is to discourage unlawful activity.” Branch

Banking & Tr. Co. v. S & S Dev., Inc., 620 F. App'x 698, 701 (11th Cir. 2015)

(alteration incorporated); see Pace v. Wainwright, 10 So. 2d 755, 756 (Ala. 1942)

(unclean hands barred relief to party who participated in fraud scheme).

      The cases on which Defendants rely with regard to their unclean hands

defense all involve illegal or fraudulent conduct. See J & M Bail Bonding Co. v.

Hayes, 748 So. 2d 198, 199 (Ala. 1999) (bail bonding company conspired with

corrections officer to block calls to inmates from competitor bondsmen); In re


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Kingsley, 518 F.3d 874, 878 (11th Cir. 2008) (fraudulent transfer by debtor in

bankruptcy); HealthSouth Corp. v. Jefferson Cty. Tax Assessor, 978 So. 2d

737,745 (Ala. Civ. App. 2006) (HealthSouth precluded from recovering taxes paid

on fictitious property created in scheme to overstate fixed assets). Here, the court

has already found Defendants’ fraud counterclaim based on the Condo Declaration

fails as a matter of law. Neither do the undisputed facts surrounding the Condo

Declaration show Plaintiffs’ actions were “morally reprehensible.” See Retail

Devs. of Ala., 985 So. 2d at 932.

      For the foregoing reasons, Defendants are not entitled to defensive summary

judgment as to Plaintiffs’ claims under a theory of unclean hands. Moreover, as

discussed in the foregoing sections, Defendants are not entitled to summary

judgment on any theories they advance with regard to Plaintiffs’ claims under the

Repayment Agreement and the Pledge Agreement.

             2.    Plaintiffs’ Offensive Motion on Count III

      Of their claims under the Repayment Agreement, Plaintiffs move for

offensive summary judgment only on Count III (Breach of Contract). (Doc. 247).

A party asserting breach of contract must show: “(1) the existence of a valid

contract binding the parties in the action, (2) his own performance under the

contract, (3) the defendant’s nonperformance, and (4) damages.” McCutchen, 988

So. 2d. 998, 1004 (Ala. 2008).


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      Plaintiffs contend Defendants have breached the Repayment Agreement by

failing to repay the Pledged Collateral seized by Superior in 2010. (Doc. 248 at 7-

13). Plaintiffs also contend Defendants breached the Repayment Agreement and

the Pledge Agreement by failing to mark the Loan as paid in full. (Id. at 13-16).

Finally, Plaintiffs contend Defendants breached the Real Estate Purchase

Agreement and Repayment Agreement by failing to pay the agreed price for Wolf

Bay Landing. (Id. at 16-18).

      In response to Plaintiffs’ motion, Defendants present several arguments

already rejected above with respect to their defensive motion for summary

judgment, as well as Plaintiffs’ defensive motion for summary judgment regarding

Defendants’ counterclaim for fraud: (1) Wiggins does not have an individual claim

and is not a third-party beneficiary; (2) the Repayment Agreement is not supported

by consideration; (3) Plaintiffs’ failure to disclose the failure of the Condo

Declaration constituted fraud; and (4) the contract defenses based on the failure of

the Condo Declaration. (Doc. 277 at 7-9, 19-21). The court need not address these

arguments again, as the undisputed facts, even when viewed in the light most

favorable to Defendants, show: (1) Wiggins has asserted viable claims as a third-

party beneficiary; (2) the Repayment Agreement was supported by consideration;

(3) the non-disclosure of the status of the Condo Declaration did not constitute

fraud; and (4) the failure of the Condo Declaration does not support the contract


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defenses asserted by Defendants. These conclusions also establish Plaintiffs have

satisfied the first two elements of their breach of contract claim: Plaintiffs’

performance of a binding contract with Defendants. See McCutchen Co., 988 So.

2d. at 1004.

      This opinion has not yet addressed the following arguments Defendants’

assert in response to Plaintiffs’ offensive motion for summary judgment: (1) as to

the claims concerning the Interest Reserve Account, Plaintiffs have failed to prove

damages; (2) Defendants have not breached any promise to pay off the Loan or

release the guarantors; (3) Plaintiffs have failed to show damages regarding any

failure to release the Guaranties or satisfy the Loan; and (4) Plaintiffs cannot

recover under the Real Estate Purchase Agreement. (Doc. 277 at 9-18). These

arguments primarily are aimed at the third and fourth requirements for breach of

contract: Defendants’ breach and Plaintiffs’ damages. McCutchen Co., 988 So. 2d.

at 1004. Defendants’ remaining arguments are addressed in turn, although not as

delineated.

                   a.    Promise to Pay or Release and Damages

       Paragraph six of the Repayment Agreement provides Defendants would not

sell Wolf Bay Landing in its entirety unless the Loan was paid in full and the

Pledged Collateral was returned to Plaintiffs with interest. (Doc. 246-5 at 2).

Defendants argue they are not liable under this provision of the Repayment


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Agreement for both procedural and substantive reasons. Procedurally, Defendants

contend the operative complaint does not allege violations of this provision of the

Repayment Agreement. (Doc. 277 at 11-12). On the merits, Defendants assert: (1)

the June 2014 foreclosure on Wolf Bay Landing was not a “sale” for purposes of

the Repayment Agreement; and (2) Plaintiffs have not shown any damages from

the supposed breach. (Id. at 12-14). Each argument is addressed in turn.

      Procedurally, the operative complaint includes allegations to support a

claim for breach of contract under paragraph six of the Repayment Agreement due

to the sale of Wolf Bay Landing absent payment in full of the Loan. (Doc. 94 at 3-

6). Count III alleges Defendants breached their obligation to repay the Loan. (Id.

at 37). While Count III quotes the release language from the Pledge Agreement, it

also incorporates the one-and-a-half-page Repayment Agreement. (Id.; see Doc.

98-2). Accordingly, a fair reading of the complaint reveals Count III includes a

claim under the “payment in full” provision of paragraph six of the Repayment

Agreement.

      On the merits, Defendants contend the June 2014 foreclosure on Wolf Bay

Landing was not a “sale” for purposes of the Repayment Agreement and thus did

not constitute a breach.    (Doc. 277 at 12-14).      Rather, Ellis contends the

foreclosure on a metes and bounds basis was necessary to cure the defective Condo

Declaration and was in accord with his rights as the lender. (Doc. 277 at 12; Doc.


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279 at 14, 23). Trinity Retreat (solely owned at the time by his wife—Ellis later

became a member too) was the successful bidder, paying Ellis $5,750,000. Ellis

paid the proceeds to Cadence, which applied it to fully satisfy Ellis’s personal

loans with Superior. (Doc. 277 at 12; Doc. 279 at 14). On these facts, Defendants

contend “Ellis foreclosed upon, but did not ‘sell’ Wolf Bay Landing.” (Doc. 277 at

13; Doc. 279 at 14). Perhaps unsurprisingly, Defendants do not cite any law to

support this theory.

      Plaintiffs point to numerous documents referring to the foreclosure as a sale:

(1) the mortgage foreclosure deed refers to a “foreclosure sale,” and states Ellis

offered Wolf Bay Landing for “sale and did sell” it and that it was “sold” to Trinity

Retreat.   (Doc. 255-5); (2) the Second Settlement Agreement with Cadence

provides Wolf Bay Landing shall be “sold to a third party” and $5.75 million must

be paid to Cadence (Doc. 255-21 at 10); and (3) a previous R&R noting the

property was sold to Trinity Retreat (Doc. 138 at 12). (Doc. 298 at 14-17). To be

fair, Plaintiffs also do not cite much law on this point, nor do they need to. The

record shows Trinity Retreat paid $5,750,000 in exchange for title to Wolf Bay

Landing. To call this anything other than a sale is silly. Accordingly, Defendants’




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June 2014 foreclosure sale breached paragraph 6 of the Repayment Agreement in

that the Loan was not paid in full contemporaneously with the sale.46

       Finally, Defendants contend—even if they breached the payment in full

promise—Plaintiffs have not shown the measure of damages flowing from this

breach. (Doc. 277 at 14). “As a general rule, damages in a breach-of-contract

action are that sum which would place the injured party in the same condition he

would have occupied if the contract had not been breached.” Goolesby v. Koch

Farms, LLC, 955 So. 2d 422, 427 (Ala. 2006) (quotation marks omitted).

Accordingly, the damages here are measured by the value of Defendants’ marking

the Loan as paid in full when they sold Wolf Bay Landing. This is also the relief

Plaintiffs request. (See Doc. 299 at 19-21). 47 In the context of Plaintiffs’ Counts I

and II, it is clear they seek damages in the form of a release. That this relief has




46
   Defendants assert the foregoing conclusion runs afoul of prior rulings in this case. (Doc. 277
at 14). Specifically, Defendants point to portions of the December 20, 2016 R&R concerning
Plaintiffs’ and Peacock’s motions to dismiss Defendants’ counterclaims and third-party claims
for breach of guaranty. (Id. (citing Doc. 158 at 17-20)). The R&R, which analyzed the claims
under the Rule 12(b) standard at the motion to dismiss stage, concluded Wiggins and Peacock
had not shown Defendants “cannot recover under the Guaranties as a matter of law.” (Doc. 158
at 20, R&R adopted by Doc. 181). Contrary to Defendants’ assertion, the instant conclusion
regarding Defendants’ breach does not conflict with the undersigned’s prior report, which
addressed a different claim under a different legal standard. See also the accompanying
memorandum opinion and order on reconsideration of Peacock’s and Defendants’ motions.
47
  Defendants have placed a dollar value on Plaintiffs’ supposed default on the Loan: the amount
due under the Loan, plus interest.        Conveniently, this is the amount they seek—$
16,319,271.23—via counterclaim Count II, alleging breach of contract for default on the Loan.
(Doc. 241 at 17-18).
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already been granted, supra, does not render Defendants’ breach of the Repayment

Agreement any less of a breach.

                   b.    Damages Regarding Interest Reserve Account

      Defendants argue Plaintiffs’ motion is deficient with regard to their breach

of contract claim concerning the Interest Reserve Account because the motion does

not specify or offer evidence regarding the amount Superior seized from the

Interest Reserve Account. (Doc. 277 at 9). However, Plaintiffs explain they seek

partial summary judgment as to the Interest Reserve Account, with leave to prove

damages at trial. (See Doc. 299 at 23). This is permissible under Rule 56.

      Next, Defendants contend Plaintiffs did not contribute any funds to the

Interest Reserve Account.      (Doc. 277 at 10).      The Loan Assumption and

Modification Agreement required Wolf Pup to establish the Interest Reserve

Account at Superior in the minimum amount of $560,000. (Doc. 246-1 at 7).

Once established, CCLLC was responsible for maintaining the minimum balance

in the account. (Id.). However, Tim Hamner, a banker with Cadence who handled

the account, testified the account never held the minimum balance. (Doc. 250-11

at 42; see Doc. 246-13; Doc. 243-29 at 117-62). Hamner further testified the initial

deposit into the account in September 2007 was $269,875; by November the

account held $461,620.95. (Doc. 250-11 at 42; see Doc. 246-13). Defendants

have produced evidence suggesting Plaintiffs’ sale of Unit A301 was the source of


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the proceeds Plaintiffs initially deposited in the Interest Reserve Account. (Doc.

243-5 at 148; 243-8 at 106, 133-34). 48

       In response, Plaintiffs contend Ellis bought Unit A301 and paid Wolf Pup,

not Superior. (Doc. 299 at 24). This portion of Plaintiffs’ reply repeatedly cites to

a declaration by Wiggins which is not subject to a motion to strike. (Doc. 266-8).

However, this document does not state how much Plaintiffs deposited into the

Interest Reserve Account. (Id.). The declaration cites to stipulations included in

the November 21, 2008 Fourth Amendment to Loan Documents, reflecting that the

$560,000 Interest Reserve Account was established. (Doc. 255-35 at 3). Ellis,

Superior, and CCLLC signed that stipulation. (Id. at 7-14).

       Plaintiffs have presented evidence that they funded at least part of the

required minimum balance in the Interest Reserve Account.                      To the extent

Defendants contend the Interest Reserve Account was funded with proceeds from

the sale of Unit A301 to Ellis, this does not show that Plaintiffs paid no money into

the account. Even if Defendants are correct as to the genesis of at least some of the
48
   Defendants also note that, although the October 2, 2007 Purchase Agreement for Unit A301
was between Wolf Pup and Ellis, Wiggins owned the unit when he conveyed it to Ellis on
November 13, 2007. (See Doc. 246-11; Doc. 277 at 10-11 (citing Doc. 243-22 at 49-52)).
Rather, Wolf Pup conveyed the unit to Wiggins for ten dollars on October 26, 2007. (Doc. 255-
7). Accordingly, Defendants contend the funds initially deposited into the Interest Reserve
Account did not belong to Wolf Pup. (Doc. 277 at 11). Although the thrust of this argument is
not entirely clear, it appears to be resolved by the conclusion that Wiggins has claims under the
Repayment Agreement as a third-party beneficiary. Defendants also contend that, because Unit
A301 was not actually a legally created condominium unit—due to the defective Condo
Declaration—they cannot be held liable for repayment of the Interest Reserve Account. (Doc.
277 at 11). This argument fails for the same reasons already discussed with regard to
Defendants’ contract defenses premised on deficiencies in the Condo Declaration.
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amount deposited into the Interest Reserve Account, it still represents sale

proceeds rightfully belonging to Plaintiffs. It is uncontested that Defendants did

not repay Plaintiffs any funds seized from the Interest Reserve Account.

Accordingly, Plaintiffs have established damages for purposes of their motion for

partial summary judgment as to their breach of contract claim concerning the

failure to repay the Interest Reserve Account.      The precise measure of those

damages can be determined at trial. See 10B WRIGHT, MILLER & KANE, FED.

PRAC. & PROC. CIV. § 2737 (4th ed.) (“When Rule 56 was extensively rewritten in

2010, the material on partial summary adjudication was moved to other portions of

the rule. Thus, amended Rule 56(a), which contains the general standard for

obtaining summary judgment, now also includes express authority for judgment on

less than the entire case, denominating such judgments in its title as a ‘Partial

Summary Judgment.’”).

                   c.    Recovery Under Real Estate Purchase Agreement

      Defendants also challenge Plaintiffs’ claims to the extent they are based on

the Real Estate Purchase Agreement. (Doc. 277 at 15-17). While the legal impact

of the Real Estate Purchase Agreement is unclear, it is not necessary to explore the

question; the Second Amended Complaint does not even mention the Real Estate

Purchases Agreement. (Doc. 94). Accordingly, Plaintiffs cannot recover for its

breach. The remainder of the briefing on this issue focuses on whether Plaintiffs


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can show breach of contract via Defendants’ failure to pay for Wolf Bay Landing.

(See Doc. 277 at 16-17). Given the foregoing conclusions regarding release of the

Guaranties and the failure of Defendants’ counterclaim for breach of the Loan, it is

not necessary to address these arguments.

                 3.     Conclusion re Repayment Agreement: Plaintiffs’ Count III

          Based on the foregoing discussion, the undisputed facts show the Repayment

Agreement was a binding, valid contract which Plaintiffs performed and

Defendants breached, damaging Plaintiffs. 49                 Accordingly, Defendants are not

entitled to judgment as a matter of law on Plaintiffs’ Count III, asserting breach of

contract; Defendants’ defensive motion for summary judgment on this claim will

be denied. (Doc. 238).

          For the same reasons, Plaintiffs are entitled to judgment as a matter of law

with regard to portions of Count III, and their offensive motion for summary

judgment is due to be granted in part and denied in part. (Doc. 247). Specifically,

Plaintiffs are entitled to summary judgment on their claims regarding the failure of

Defendants to repay the Wiggins C.D. and accrued interest seized by Superior on

December 23, 2010.            The undisputed facts show Superior seized a total of




49
     The same is true with regard to the Pledge Agreement.


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$1,742,126.70,50 representing the value of the Wiggins C.D. and accrued interest;

Defendants are liable to Plaintiffs in this amount under the Repayment Agreement.

(Doc. 259-2 SEALED at 3). Likewise, Plaintiffs are entitled to judgment as a

matter of law under the Repayment Agreement with regard to Defendants’ June

2014 sale of Wolf Bay Landing without paying the Loan in full. The relief for that

breach has already been granted in the form a release from the Guaranties.

       With respect to the Interest Reserve Account, there is a genuine issue of

material fact regarding the amount of damages. While Plaintiffs have proved their

claim for breach of contract with regard to the Interest Reserve Account, including

that they were damaged, the exact amount of their damages is uncertain; Plaintiffs

may prove their damages at trial. Finally, Plaintiffs’ motion will be denied as to

any contract claim asserted under the Real Estate Purchase Agreement.

       D.     Consequences of Determination Regarding Plaintiffs’ Count III

       As explained below, the foregoing conclusion requires the dismissal two of

Plaintiffs’ claims: Count V (money paid) and Count X (unjust enrichment).

Likewise, it offers an independent basis on which to dismiss whatever remains of

Defendants’ Count II (breach of contract regarding the Loan).



50
   The evidence shows Superior seized $1,742,126.70 from the Wiggins C.D. (Doc. 259-2
SEALED at 3). Immediately after correctly noting the amount seized from the Wiggins C.D.
(Doc. 248 at 10, n.8), Plaintiffs’ brief inexplicably requests judgment in the amount of
$1,734,244.76 (Id. at 11). The court assumes this is a typo and will defer to the undisputed
evidence regarding the amount seized form the Wiggins C.D.
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             1.    Plaintiffs’ Count X: Unjust Enrichment

      Plaintiffs’ unjust enrichment claim concerns Defendants’ failure to repay the

Pledged Collateral seized by Superior. (See Doc. 282 at 56-57).     In response to

Defendants’ defensive motion for summary judgment, Plaintiffs’ explain they pled

unjust enrichment as an alternative to their claims under the Repayment

Agreement. (Id.). Plaintiffs assert this was particularly appropriate here, where

Defendants challenged the validity of the contracts between the parties. (Id.).

Having determined Plaintiffs are entitled to relief under the Repayment

Agreement, the alternative remedy of unjust enrichment is inappropriate.

Vardaman v. Florence City Bd. of Educ., 544 So. 2d 962, 965 (Ala. 1989) (“the

existence of an express contract generally excludes an implied agreement relative

to the same subject matter”); Univalor Trust, SA v. Colum. Petroleum, LLC, 315

F.R.D. 374, 382 (S.D. Ala. 2016) (“existence of an express contract extinguishes

an unjust enrichment claim altogether because unjust enrichment is an equitable

remedy which issues only when there is no adequate remedy at law”).

      For the foregoing reasons, there are no genuine issues of material fact, and

Defendants are entitled to judgment as a matter of law on Plaintiffs’ claim for

unjust enrichment. Defendants’ defensive motion for summary judgment will be

granted as to this claim. (Doc. 238).




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             2.    Plaintiffs’ Count V: Money Paid

      This claim is also based on the Defendants’ failure to repay the Pledged

Collateral seized by Superior. For the same reasons discussed in the preceding

section regarding unjust enrichment, Plaintiffs’ recovery under Count III for breach

of contract bars this duplicative claim. “A claim of money paid by mistake

essentially restates a claim for unjust enrichment.”   Simple Helix, LLC v. Relus

Techs., LLC, No. 20-453-HNJ, 2020 WL 5984024, at *17 (N.D. Ala. Oct. 8, 2020).

      For the foregoing reasons, there are no genuine issues of material fact, and

Defendants are entitled to judgment as a matter of law on Plaintiffs’ claim for

money paid. Defendants’ defensive motion for summary judgment will be granted

as to this claim. (Doc. 238).

             3.    Defendants’ Count II: Breach of Contract re the Loan

      To the extent anything remains of Defendants’ Count II for breach of the

Loan, it is doomed by the conclusion, supra, that the Repayment Agreement is

enforceable. (See Doc. 253 at 13-16). Under the Repayment Agreement, Wolf

Bay Landing could not be sold in its entirety unless: (1) the Pledged Collateral was

returned to Wiggins; and (2) the Loan was paid in full. (Doc. 246-5 at 2). By the

time Defendants sold Wolf Bay Landing to Trinity Retreat via foreclosure in 2014,

Ellis held the note and was the only person or entity capable of fulfilling this

promise.


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       In response to Plaintiffs’ arguments regarding the “payment in full”

provision, Defendants assert several arguments already rejected above: (1)

Wiggins was not a party to the Repayment Agreement and did not have standing as

a third-party beneficiary; (2) failure of consideration due to the deficient Condo

Declaration; and (3) the 2014 foreclosure did not represent a sale of Wolf Bay

Landing.     (Doc. 279 at 13-15). As previously discussed, these arguments are

devoid of colorable merit. 51

       The remaining argument relevant to the import of the Repayment Agreement

is that “Ellis denies individual liability on any of the side agreements to the Loan

Assumption.” (Doc. 279 at 13-14). In support of this argument, Defendants cite

portions of Ellis’s deposition in which he testified that he signed certain side

agreements on behalf of CCLLC only, not in his individual capacity. (See Doc.

255-1 at 21-22). Specifically, Ellis testified whether he signed in his individual

capacity was a “legal interpretation” which he would “leave to the courts.” (Id. at

22). The parties to the Repayment Agreement were Ellis, CCLLC, and Wolf Pup.
51
   Defendants’ arguments in this regard only explicitly refer to the Pledge Agreement. However,
it is clear that Defendants’ arguments are also aimed at the Repayment Agreement, because they
repeat arguments regarding the sale of Wolf Bay Landing. (See Doc. 279 at 13-14). The
obligation to pay off or refinance the Loan under the Pledge Agreement was triggered by the
passage of time, not the sale of Wolf Bay Landing. (Doc. 246-2 at 6). The Repayment
Agreement was the only contract creating a “payment in full” obligation in the event Wolf Bay
Landing was sold. (Doc. 246-5 at 2). Additionally, Defendants’ opposition incorporates
portions of their brief in support of their defensive motion for summary judgment asserting these
arguments as to both the Pledge and Repayment Agreements. (Doc. 279 at 14) (citing Doc. 239
at 34-36). It appears Defendants’ citation refers to the page numbers assigned by their word
processing software. (Id.). Using the CM/ECF-assigned page numbers, the arguments the
Defendants assert via incorporation appear at pages 37-39. (Doc. 239 at 37-39).
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(Doc. 246-5 at 2). At the end of the Repayment Agreement, there were two

signature blocks: (1) one for CCLLC, which Ellis signed as its managing member;

and (2) one for “Frank P. Ellis, IV” which Ellis also signed. 52 (Id. at 3). The only

plausible “legal interpretation” of the foregoing facts is that Ellis is personally

bound by the Repayment Agreement.53

       In light of the failure of all of Defendants’ arguments in response to

Plaintiffs’ defensive motion for summary judgment, there are no genuine issues of

material fact with regard to Defendants’ Counterclaim II (breach of the Loan), and

Plaintiffs are entitled to judgment as a matter of law as to this counterclaim; their

motion will be granted in this regard.            (Doc. 238).      For the same reasons,

Defendants’ offensive motion as to Counterclaim II will necessarily be denied.

(Doc. 240). Because the debt on the Loan was extinguished under the terms of the

Repayment Agreement, Defendants’ Count III (breach of guaranty) fails for

alternative reasons that are independently sufficient to those explained in section

V.B., supra. This same conclusion dictates that Plaintiffs are entitled to judgment

as a matter of law as to their Count I on this independent basis.




52
  The Repayment Agreement did not have a pre-printed signature block for Wolf Pup; Wiggins
wrote that portion by hand and signed as Wolf Pup’s representative. (Doc. 246-5 at 3).
53
  To the extent Ellis contends he is not personally bound by the Pledge Agreement, the same
conclusion applies. The parties to the Pledge Agreement were Wolf Pup, Raley, and Ellis. (Doc.
246-2 at 2). Ellis signed the Pledge Agreement without reference to CCLLC. (Id. at 6).
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      E.     Plaintiffs’ Count XIII: Promissory Estoppel/Fraud

      Defendants’ defensive motion for summary judgment presents three

arguments regarding Plaintiffs’ claim for Promissory Estoppel/Fraud: (1)

inadequate pleading under Rule 9(b); (2) any such claim is time-barred; and (3) the

claim is an attempt to attach fraud liability to a breach of contract. (Doc. 239 at

58-61). Defendants rightly note the allegations asserted in Count XIII of the

Second Amended Complaint are all aimed at promises Defendants made with

respect to the 2007 Transaction and their failure to fulfill those promises within a

year. (Id.; see Doc. 94 at 56-58). Count XIII further alleges Defendants knew the

“representations and promises were false when made and that they did not intend

to perform . . . .” (Doc. 94 at 58). Count XIII seeks a declaratory judgment that

Defendants are precluded—on promissory estoppel grounds—from                 pursuing

Plaintiffs under the Loan and from failing to repay the Pledged Collateral. (Id.).

This claim for relief is moot in light of the relief already granted under the parties’

contracts.

      What remains of Count XIII is Plaintiffs’ claim for fraudulent

misrepresentation. Among Defendants’ arguments with regard to Count XIII is its

untimeliness under Alabama’s applicable two-year statute of limitations. (Doc.

239 at 59-60).   This argument rests on the fact that all of the misrepresentations

alleged in Count XIII occurred during the negotiation of the 2007 Transaction.


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(Id.). In response, Plaintiffs contend their fraud claim is also supported by the

allegations concerning Defendants’ conduct from 2010-2014—during the alleged

conspiracies with Superior to seize the Pledged Collateral and with Cadence to

orchestrate the foreclosure sale. (Doc. 282 at 41-42, 46-54). Plaintiffs’ response

leads    to   the    inescapable      conclusion      that   their    claim     for   fraudulent

misrepresentation is time-barred.

        First, the conduct alleged in Count XIII all occurred in 2007. In response to

Defendants’ arguments, Plaintiffs do not contend the discovery rule saves these

otherwise time-barred misrepresentations.             Plaintiffs also do not contend their

fraud claim, asserted for the first time in February 2016, relates back to any

previous iteration of the complaint. (See Doc. 282 at 41-42). Accordingly, Count

XIII is time-barred to the extent it is based on Defendants’ 2007 conduct.

        Turning to Plaintiffs’ arguments in response—that the fraud claim is also

based on Defendants’ conduct from 2010-2014—any such claim would also be

time-barred, even considering these unpled allegations.54                     After the 2007

misrepresentations, the remaining conduct upon which Plaintiffs rely concerns


54
   Although not argued by any party, it appears Count XIII is better understood as asserting
promissory fraud. “A claim of promissory fraud is ‘one based upon a promise to act or not to act
in the future.’” Ex parte Michelin N. Am., Inc., 795 So. 2d 674, 678 (Ala. 2001) (quoting Padgett
v. Hughes, 535 So. 2d 140, 142 (Ala.1988)). In addition to the four elements required to show
fraudulent misrepresentation, a plaintiff alleging promissory fraud must prove: “at the time of the
misrepresentation, the defendant had the intention not to perform the act promised, and [] that the
defendant had an intent to deceive.’” Id. at 678-79 (quoting Padgett, 535 So. 2d at 142); see
Southland Bank v. A & A Drywall Supply Co., 21 So. 3d 1196, 1209-12 (Ala. 2008).
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Defendants’ contractual duties. As far as the undersigned can tell, Plaintiffs’ fraud

claim—as articulated in their response—rests on Defendants’ failure to tell

Plaintiffs from 2010 through 2014 that they were going to breach the contracts.

This is insufficient to state a claim for fraudulent misrepresentation. See Southland

Bank, 21 So. 3d at 1209-12 (in promissory fraud case, plaintiff cannot meet burden

of showing intent to deceive “merely by showing that the alleged promise

ultimately was not kept; otherwise, any breach of contract would constitute a

fraud”). The only misrepresentations actually alleged in Count XIII were made in

2007.    Thus, Plaintiffs’ claim for fraudulent misrepresentation is time-barred;

Defendants are entitled to judgement as a matter of law as to this claim.

        F.   Plaintiffs’ Count VIII: Conversion

        To succeed on a conversion claim, a plaintiff must show “proof of a

wrongful taking, an illegal assumption of ownership, an illegal use or misuse of

another’s property, or a wrongful detention or interference with another’s

property.” SouthTrust Bank v. Donely, 925 So. 2d 934, 939 (Ala. 2005) (emphasis

omitted). A plaintiff asserting conversion must show a defendant “exerted control”

over the converted property. Watson v. Thomas, 646 So. 2d 84, 86 (Ala. Civ. App.

1994); see McGee v. McGee, 91 So. 3d 659, 667 (Ala. 2012) (“The elements of

conversion include a wrongful taking of specific property and an assumption of




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ownership or dominion over the separate and identifiable property of another.”)

(quotation marks omitted).

       Here, the primary focus of Plaintiffs’ arguments regarding their conversion

claim is Superior’s seizure of the Pledged Collateral and its efforts, acting in

concert with Defendants. (Doc. 282 at 54-56). Plaintiffs’ briefing largely relies on

the same allegations underlying their conspiracy claim.               (Id.).   However, the

undisputed facts show Superior maintained exclusive control over the Pledged

Collateral accounts from deposit to seizure. Accordingly, to the extent Plaintiffs

rely on the Pledged Collateral to show conversion, their claim fails.

       Plaintiffs also contend the facts show an effort to “take, misuse, and interfere

with Plaintiffs’ . . . contractual rights (the automatic proxy to vote and control

CCLLC and right to sell WBL units).” (Doc. 282 at 54). 55 In support of this

argument, Plaintiffs cite a number of exhibits and portions of Ellis’s deposition.

(Id. at 54-55). Most of this evidence consists of Superior’s internal emails and

documents from late 2009 through 2010, discussing the problems with the Loan

and possible solutions. (See Doc. 259 SEALED). Ellis was a party to other

emails, but none of these show he interfered with or exerted control over Plaintiffs’

membership and voting rights under the Pledge Agreement. (E.g. Docs. 266-1,

266-2, 266-3). Neither do the cited portions of Ellis’s deposition. (Doc. 250-7 at

55
 The court has already concluded the Pledge Agreement did not create a security interest in the
Wolf Bay Landing property in favor of the Plaintiffs. (Doc. 138 at 21-24).
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48-49, 57-58). Finally, Plaintiffs cite to portions of Wiggins’s declaration and

supplemental declaration.       The most relevant portion of the supplemental

declaration includes Wiggins’s averment that “Cadence interfered with such

contractual rights and remedies.” (Doc. 267-1 at 4). While the original Wiggins

declaration includes a number of averments regarding Superior’s actions, they all

relate to the seizure of the Pledged Collateral. (Doc. 266-8). As already noted,

Defendants did not exert control over the Pledged Collateral Superior seized.

Likewise, none of the cited evidence shows Defendants took, assumed, used,

detained, or interfered with Plaintiffs’ membership or voting rights under the

Pledge Agreement.

         For the foregoing reasons, Plaintiffs cannot sustain Count VIII (conversion),

and Defendants are entitled to judgment as a matter of law as to this claim.

Accordingly, Defendants’ motion for summary judgment will be granted as to this

claim.

         G.    Plaintiffs’ Count IX: Conspiracy

         The foregoing conclusions mean, as Defendants contend, there is no

underlying wrong to sustain Plaintiffs’ conspiracy claim. (Doc. 239 at 53-54).

While Plaintiffs have proven their breach of contract claim, a breach of contract is

insufficient to sustain a conspiracy claim. See Barber v. Stephenson, 69 So. 2d

251, 255 (1953) (“an action for conspiring with another to induce the latter to


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break his contract cannot be maintained, the remedy being to sue on it”).

Accordingly, Defendants’ defensive motion for summary judgment will be granted

as to Plaintiff’s Count IX.

       H.     Defendants’ Counterclaim Count V: Breach of Warranty Deed

       Defendants’ Counterclaim V is the subject of Defendants’ offensive motion

for summary judgment (Doc. 240) and Plaintiffs’ defensive motion for summary

judgment (Doc. 249).        This claim is based on Wolf Pup’s execution of the

Assumption Warranty Deed purporting to convey sixty Wolf Bay Landing units to

CCLLC on October 26, 2007. (Doc. 241 at 18; see Doc. 246-6). Defendants

contend, however, the deed breached the warranty of good and marketable title

because the Condo Declaration was invalid. (Doc. 241 at 19). 56 Defendants seek

$36,218,284.85 on this claim, consisting of: (1) $19,675,000.00 in damages,

measured by the difference of Wolf Bay Landing’s value as a condominium as

opposed to an apartment building; (2) $13,131,055.00 in accrued interest; and (3)

$3,412,229.85 in interest payments. (Id.; Doc. 240 at 3).

       The Assumption Warranty Deed Wolf Pup executed provides Wolf Pup

“does hereby grant, bargain, sell, and convey” to CCLLC “in fee simple,” the sixty

units at Wolf Bay Landing, described by their unit numbers and by incorporation



56
  Defendants also assert the transfer was premature because Superior had not yet executed the
Loan Assumption Agreement. (Doc. 241 at 19).
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of the Condo Declaration. (Doc. 246-2 at 2). The Assumption Warranty Deed also

includes the following express covenants of title:

      AND GRANTOR [Wolf Pup] DOES FOR ITSELF, and for its
      successors and assigns covenant with the said grantee [CCLLC], and
      with grantee’s successors and assigns, that grantor is lawfully seized
      in fee simple of the said premises; that they are free from all
      encumbrances, except as otherwise noted above; that it has a good
      right to sell and convey the same as aforesaid; and that it will and its
      successors and assigns shall warrant and defend the same unto the
      said grantee, and unto grantee’s successors and assigns, forever,
      against the lawful claims of all persons.

(Id. at 3). The Assumption Warranty Deed does not include any other express

covenants.

      Plaintiffs contend the inclusion of the words “grant, bargain, sell, and

convey” renders the Assumption Warranty Deed a statutory warranty deed under §

35-4-271 of the Alabama Code. (Doc. 283 at 37). Where a deed includes no

express covenants, Alabama law imposes the following “more limited,” implied

covenants on statutory warranty deeds: (1) a covenant of seizin; (2) a covenant

against encumbrances; and (3) a covenant of quiet enjoyment. ALA. CODE § 35-4-

271; see St. Paul Title Ins. Corp. v. Owen, 452 So. 2d 482, 484-85 (Ala. 1984).

Because the Assumption Warranty Deed here does include express covenants, it is

not a statutory warranty deed. Cousins v. McNeel, 96 So. 3d 846, 858 (Ala. Civ.

App. 2012) (“a statutory warranty deed does not contain express warranties”). In

addition to the covenants implied under § 35-4-271—covenants of seizin, quiet


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enjoyment, and against encumbrances—the Assumption Warranty Deed included

express covenants that Wolf Pup: (1) had the right to convey the property

described; and (2) would defend the title against the claims of other persons. (Doc.

199-2 at 2); see Cousins, 96 So. at 857-58 (interpreting similar language in a deed

as providing these additional covenants). The inclusion of these five covenants

renders the Assumption Warranty Deed a “general warranty deed” under Alabama

law. See Colonial Cap. Corp. v. Smith, 367 So. 2d 490, 491 (Ala. Civ. App. 1979);

In re Health Sci. Prod., Inc., 183 B.R. 903, 931 (Bankr. N.D. Ala. 1995).

      Here, Defendants contend Plaintiffs breached their covenants of seizin and

the right to convey by way of the defective Condo Declaration. (E.g. Doc. 278 at

40). These two covenants are “basically the same and mean that the grantor owns

the estate which he proposes to convey.” Smith, 367 So. 2d at 491. “These

covenants are broken at the time of conveyance if the grantor does not have good

title.” Smith, 367 So. 2d at 491. It is undisputed that Wolf Pup owned Wolf Bay

Landing in fee simple. It is further undisputed that Wolf Pup conveyed all of its

interest in Wolf Bay Landing during the 2007 Transaction. Accordingly, as a

matter of Alabama law, Wolf Pup did not breach the covenants of seizin or the

right to convey. Smith, 367 So. 2d at 491 (covenants of seizin and right to convey

were not implicated where grantor owned the property in fee simple and conveyed

all of his interests to the grantee).     For these reasons, as to Defendants’


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Counterclaim V: (1) Defendants’ offensive motion for summary judgment will be

denied (Doc. 240); and (2) Plaintiffs’ defensive motion for summary judgment will

be granted (Doc. 249).

VI.   CONCLUSION

      Defendants’ offensive motion for summary judgment regarding their

counterclaims is DENIED in its entirety. (Doc. 240) (Count V breach of warranty

deed). Plaintiffs’ defensive motions for summary judgment regarding Defendants’

counterclaims are GRANTED in their entirety. (Docs. 249, 252). As a result,

Defendants have no surviving counterclaims.

      The remaining motions for summary judgment are GRANTED IN PART

and DENIED IN PART.             (Docs. 238, 247, 252).     Plaintiffs are entitled to

judgment as a matter of law with regard to their Count II (release of the

Guaranties) and portions of Count III (breach of contract). Plaintiffs may prove

their attorneys’ fees at trial. As to Count III, Plaintiffs have shown: (1) Defendants

breached the Repayment Agreement with regard to the Wiggins C.D., and

Plaintiffs are entitled to damages in the amount of $1,742,126.70; (2) Defendants

breached the Repayment Agreement with regard to the Interest Reserve Account,

with damages to be proven at trial. Defendants are entitled to judgment as a matter

of law on all of Plaintiffs’ other claims.




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      The parties are ORDERED to mediate this matter with the Honorable John

E. Ott by no later than March 19, 2021. The parties are instructed to provide

mutually agreeable mediation dates by February 17, 2021, via an email to

bridget_tyree@alnd.uscourts.gov.

      DONE this 12th day of February, 2021.



                                          ______________________________
                                          STACI G. CORNELIUS
                                          U.S. MAGISTRATE JUDGE




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